Case 4:24-cv-02236   Document 1-5   Filed on 06/12/24 in TXSD   Page 1 of 54




EXHIBIT C-2
                                                                               5/30/20244:08:00PM
   Case 4:24-cv-02236         Document 1-5        Filed on 06/12/24 in TXSDMarilynBurgess-DistrictClerk
                                                                              Page 2 of 54 5/30/2024 4:08 PM
                                                                               HarrisCounty
                                                                              Marilyn Burgess - District Clerk Harris County
                                                                               EnvelopeNo:88280517
                                                                                                   Envelope No. 88280517
                                                                               By:PRINCE,SASHAGAYES By: SASHA PRINCE
                                                                               Filed:5/30/20244:08:00PM
                                                                                                  Filed: 5/30/2024 4:08 PM




                   CHARLES MOSELY,                    §           IN THE DISTRICT COURT
                            Plaintiff,                §
                                                      §
                                        vs.           §       OF HARRIS COUNTY, TEXAS
                                                      §
     RCF 2 ACQUISITION TRUST                          §
     U.S.BANK TRUST NATTIONAL,                        §                 JUDICIAL DISTRICT
     ASSOCIATION AND SELENE                           §
     FINANCE LP.                                      §
                       Defendant,                     §


    PLAINTIFF'S SUPPLEMENTAL PETITION, APPICATION FOR TEMPORARY

RESTRAINING ORDER, TEMPORARY INJUNCTION, PERMANENT INJUNCTION

                            AND REQUEST FOR DISCLOSURES



                             Real Estate Settlement Procedures Act

       Pursuant to RESP A a Qualified Written Request under the Real Estate Settlement

Procedures Act, codified as Title 12 § 2605 (e)(l)(B) (e) and Reg. X § 3500.2l(f)2 of the United

States Code as well as a request under Truth In Lending Act [TILA] 15 U.S.C. § 1601, et seq.

RESP A provides substantial penalties and fines for non-compliance or failure to answer

defendant questions provided in this letter within thirty (30] days of its receipt. Defendants have

failed to respond to the Qualified Written Request Letters. The servicer must provide the

borrower with a written response that includes the information requested by the borrower or an

explanation of why the information is unavailable or cannot be obtained by the servicer. 12

U.S.C. § 2605(e)(2)(C);See Rosa v. Mandarich Law Grp., 22-cv-4720 (LJL) (S.D.N.Y. July 17,

2023),and Lamell v. One West Bank, 485 S.W.3d 53 (Tex. App. 2015) See Exhibit C.
   Case 4:24-cv-02236         Document 1-5        Filed on 06/12/24 in TXSD          Page 3 of 54




If the consumer disputes the validity of the debt, then all collection efforts must cease "until the

debt collector obtains verification of the debt or a copy of a judgment." 15 U.S.C. § 1692g(b);

see also Jacobson, 516 F.3d at 89 ("The debt collector may reswne collection activities only

when it has obtained verification of the debt, and has mailed a copy of the verification to the

consumer."Debt collector has failed to respond to Plaintiffs request. See (F).


Selene is a debt collector who acquired the alleged defaulted debt on or about July 27, 2021.



                                                                ~ e ~ l l y : : : :Prose

                                                               Charles Mosely
                                                               P. 0. Box 450662
                                                               Houston, Texas 77245




                                 CERTIFICATE OF SERVICE

       This is to certify that a true, correct, and complete copy of the forgoing document has
been served via U.S. Mail as follows on May 30, 2024,



Selene Finance
3501 Olympus Blvd 5th Fl. Ste. 500
Dallas, Texas 75019

Codilis & Moody, P.C.
20405 State Highway 249 Suite 170
Houston, TX. 77070

                                                             Charles Mosely
   Case 4:24-cv-02236            Document 1-5           Filed on 06/12/24 in TXSD          Page 4 of 54




VERIFICATION

 STATE OF TEXAS

COUNTY OF Harris

BEFORE ME, the undersigned Notary Public, on this day personally appeared Charles Mosely,

the affiant, whose identity is known to me. After I administered an oath, affiant testified as

follows:

My name is Charles Mosely, I am over 18 years of age, of sound mind, and capable of making

this affidavit. The facts stated in this affidavit are within my personal knowledge and are true and

correct.

                                                                                           ~
                                                                                           Charles Mosely

SUBSCRIBED AND SWORN TO BEFORE ME by Charles Mosely on this 30 day ofMay_2024


a¼Lt 1~1J/ >£j// /Jlcv
Notary Public in and for t ~ ' ~ f Texas         ;~i,.
                                                         e
to certi. fy which ;itness my hand and o/1'/f offi.,c e•·~~- -------

                                                        ALVINLBURROUGHS
                                                        MyNolarylD#10934901
                                                           .ti(;. •
                                                                            11111

                                                                      ExphsAprl 20, 2028

                                       PLAINITFF'S EXHIBITS

           Plaintiff attaches the following exhibits:

           Qualified Written Request (C)

       Qualified Written Request          (D)

       Qualified Written Request (E)

       Notice of Dispute Validation (F)
                                                               5/28/20246:04:00PM
Case 4:24-cv-02236   Document 1-5   Filed on 06/12/24 in TXSDMarilynBurgess-DistrictClerk
                                                                Page 5 of 54
                                                               HarrisCounty
                                                               EnvelopeNo:88188554
                                                               By:CUERO,NELSON
                                                               Filed:5/28/20246:04:00PM




                        EX HI BI T
                               A
         May 2, 2024
                 Case 4:24-cv-02236                Document 1-5           Filed on 06/12/24 in TXSD               Page
                                                                                                                  Certifi6
                                                                                                                         edof 54
                                                                                                                           Mail
         Charles Ray Mosely
         300SN ttaSt
         Houston, TX 77051

              RE: C&M No. 44-22-1871 Mosely,Cbarles Ray; Loan No,xxxn.x3935 I Conve
                                                                                                 ntiOlllll SLN
** Tb.is oonun umead on ta from a debt ~lkdo r 1111d dm la 1111 aUcmpl to tollca
used for that porpoae.H                                                                   a debt and any lldbrmauon ObUIIDed WIii De

Aslert aodDrOtett your dekb u a member or the U1D"4 fott.ea of the Uptmd
active military duty, ind.ud ig active milta n dptY u a member of                                u
                                                                                    States.. you m or Y9l\I WW • ffl'YIH on.
                                                                      tile Tew National Guard or tile National Guard of another
state or u a member of a resene component of the armed forces of the
duty milita ry servtee to the 11111der of dlls notice immed iately.
                                                                              United States, please aend written notice of the active
                                                                    §ende r Is: Codilts & Moodv, P.C., 20405 State Highway 249,
Suite 170, Hopston, TX 77070

. RE: Promissory Note in the amount of $34,400.00 dated Octobe
                                                                    r 03, 2008, executed ·by Charles Ray Mosely, and Deed of Trust
  originated October 03, 2008, executed by Charles Ray Mosely
                                                               , an unmarried person and recorded tmder Vol. ER 009-34, Page
  or Clerk's File No. 20080527729 in the Deed of Trust Records of                                                            0184,
                                                                  HARRIS County, Texas.

This law firm represents Selene Finance, the Mortgage Servicer for U.S.
                                                                          Bank Trust National Association. not in its individual capacity
but solely as owner trustee for RCF 2 Acquisition Trust with respect to
                                                                        the above referenced indebtedness.
You have failed to pay the indebtedness when due and, as a result. have been
                                                                              in default under the t:enns of the indebtedness.
Y~u are further notified that Selene Finance is acting as the Mortgage Servic
individual capacity but solely as owner trustee for RCF 1 Acquis
                                                                                er for U.S. Bank Trust National Association, not in its
                                                                    ition Trust , who is the Mortgagee. Selene Finance, as Mortga
Servicer, is rcpICleDting the Mortgagee, whose address is C/0 3501 Olymp                                                              ge
                                                                            us Blvd. 5th Fl. St:e. 500, Dallas, TX 75019. The Mortgage
Servicer is authorized to represent the Mortgagee by virtue of
                                                                a servicing agreement with the Mortgagee. Pursuant to the servici
agreement and Teus Property Code Sec. 51.002        5. the Mortgage Servicer is authorized to collect the debt and                    ng
resulting foreclosure of the property secured by the above referen                                                 to administer any
                                                                  ced loan.
You are hereby  notified that because you have not cured the default, your obtigatioos under
matured. and that the entire principal indebtedness evidenced by                                 the Not:e and Deed of Trust have been
                                                                 the Note, together with interest thereon as provided by the tenns·
Note and earned thereunder, has been accelerated.                                                                                   of the

If you were a borrower in regard to this Note prior to the filing
                                                                  of a bankruptcy in which you received a discharge of the indebte
and if the indebtedness was not reaffirmed in the bankruptcy case,                                                                   dness,
under applicable law and Lender is not attempting any act to collect Mortgage Servicer is exercising its t,, mn rights as allowed
                                                                        the
                                                                        , recover or offset the discharged debt as your personal liability.
We are not attempting to collect money from anyone who is not a debtor
the debt under the Bankruptcy laws of the United States. If you an:
                                                                            of the aforementioned debt and/ot anyone who has discharsc<l
                                                                      receiving this notice and you are not a debtor, you are receiving
notice for informational purposes only.                                                                                                 this

Also attached to this letter is a Notice of Trustee's Sale of the proper
and the laws of the State of Texas. Please feel free to contact                             as
                                                                         ty described therein, provided by tbe-tetms oftbe Deed of Trust
                                                                     this office at 281-925-5200 if you have BDY. questions. reganling
matter.                                                                                                                                this

Sincerely.

CODILIS & MOODY, P.C.
20405 State Highway 249, Suite 170
Houston, TX n070
                  Case
 Allffrt and protect        4:24-cv-02236
                     your rights                      Document
                                 as a membe r of the armed            1-5
                                                           forces of the UnJtedFiled    on
                                                                                State&. If you06/12/24     in TXSD Page 7 of 54
                                                                                               are or your spouse I$ serving on active mWtary duty,
 indgdln g active militar y dufy u a membe r of the Texas
                                                            Natiooal Guard or tbe National Guard of anothe r state
 com119nent of the armed forces of the Umted States,                                                                   or as a membe r of a reserve
                                                        please send written notice of the actne duty militar y
 immediately. &!oder is: Codi.lb & Moodf , P.c, 20405                                                           service to the sender of tbJs notice
                                                        State Highway 2-49, Suite 170, Houst on, TX 77070
                                 INSTR UMEN T BEING FOREC LOSED AND MORT GAGE
                                                                                                     SERVI CER INFOR MATIO N
 Deed ofTrus t dated October 03, 2008 and recorded under Vol.
                                                                           ER 009-34, Page 0184, or Clerk's File No. 20080527729, in the real property
 HARR JS Cnunty To,r:aii, with ChttlH llo.y Mo.,..ly , on u .....,_,.;...1
                                                                    P""'0n ""Gnan tor(8) and Welb Fa.rs<> riank, N .A.
                                                                                                                                                       records of
                                                                                                                         ""Orli;l nal Mortgo5<><>,
 Deed of Trust executed by Charles Ray Mosely, an unmarried pergon securing
 obligation therein described including but not limited to the:                      payment of the indebtE-.dness in the original princiruil amount of U4,400.00
                                                                 promissory note and all modificutions, renewal and extensio                                      and
 executed by Charles Ray Mosely. U.S. Bank Trust Nationa                                                                        ns of the promissory note (the "Note")
                                                                l Association, not in its individuul capacity but solely as owner
 is the current mortgagee (the "Mortgagee") of the Note and                                                                        trustee for RCF 2 Acquisition Trust
                                                               Deed ofTnis t or Contract Lien.
The Mortgage Servicer is authorized to represent the Mortga
                                                              gee by virtue of a servicing agreement with the Mortgagee.
and Texas Property Code 51.0025, the Mongage Servicer                                                                       Pursuant lo the Servicing Agreement
                                                           is authorized to collect the debt and to administer any resultin
the above referenced loan. Selene Finance is acting as the Mortga                                                          g foreclosure of the property securing
                                                                  ge Servicer for the Mortgagee. Selene Finance, is representing
is: 3S0 l Olympus Dlvd. 5th Fl. Ste. 500, Dallas, TX 75019.                                                                        the Mortgagee, whose address

Legal Description:
THE WEST 33 FEET OF WT TWENTY-SEVEN (27)
                                            AND THE ADJOI NING EAST 22 FEET OF LOT TWEN
TWENTY-FOUR (24) OF REEDWOODS., AN ADDIT                                                TY-EIG HT (28). IN BLOCK
                                          ION IN HARR IS COUNTY, TEXAS ACCORDING TO
RECORDED IN VOLU ME 42, PAGE 71 OF THE MAP                                          THE MAP OR PLAT THERE OF
                                           RECOR DS OF HARRIS COUNTY, TEXAS.

                                                                     SALE INFOR MATIO N
Date or Sale: 06/04/2024
                                                      Earliest Time Salle WIii Begin: 10:00 AM
Location of Sale:     The place of the sale shall be: HARR.IS County Courtho
                                                                                use, Texas at the following location: 11,681 Square Feet
concrete, being u 13,979 Square Feet area of covered concret                                                                              ureu of covered
                                                            e Wlder the Bayou City Event Center Pavilion. save and except
and Restroom area under said Puvilion, or if the precedi                                                                  a 2 .298 Squure Feet Concession
                                                          ng area is no longer the designated are:1, at the area most
Commissioner's Court                                                                                                  recently designated by the County

                                                                        TERMS OF SALE
A defaull has occurred in the payment of said herein referenc
                                                               ed indebtedness, and the same is now wholly due, and the
has requested the hereinafter appointed Substitute Trustee to                                                                  Mortgagee and/or Mortgllge Servicer
                                                              sell said pro-perty lo the highest bidder for cash end to distribu
in accordunc:e with the tc:nns of said Deed of Trust.                                                                            te or apply the proceeds of said sole

The Sule will be conducted as a public auction to the highest
                                                               bidder for cash, except that Mortgagee's bid may be by credit
the lien of the Deed of Trust. Pursuant to the Deed of Trust,                                                                     against the indebtedness si:cured by
                                                               the mortgagee has the right to direct the Trustee to sell the
to sell ell or only part of the property. Pursuant to Section                                                                  property in one or more parcels end/or
                                                                 51.009 ortbe Texas Proper ty Code, the Proper ty will
condition, without 1oy npresa or implied warran ties, except                                                                     be sold In "AS IS," "WHE RE JS"
                                                                   as to the warran ties of title, If any, provide d ror under the
                                                                                                                                     Deed or Trust.
The sale will begin at the earliest time stuted above, or within
                                                                 three: (3) hourB ofter thot time. If the ..ale is set aside for any
shall be: entitled only to a rc:tum of the funds paid. The Purchas                                                                   reason, the Purchuser at the sale
                                                                    er shaU have no further recourse against the Mortgagor, the
attomc:y.                                                                                                                              Mortgagee or the Mortgagee's

THIS INSTRUMENT APPOINTS THE SUBSTITUTE
                                          TRUSTEE(S) IDENT IFIED TO SELL THE PROPE RlY
INSTRUMENT IDENT IFIED IN THIS NOTIC E OF                                              DESCRIBED IN THE SECUR ITY
                                          SALE. THE PERSON SIGNING THIS NOTIC E IS THE
AGENT OF THE MORTGAGEE OR MORTGAGE SERVI                                               ATTOR NEY OR AUTH ORIZE D
                                              CER.
WHEREAS, in my capacity as attorney for the Mortgagee
                                                            and/or Its Mortgage Servicer, and pursuunt to Section 51.0076
APPOINT AND DESIGNATE JefrLeva, Sandy Daslgen                                                                              of the Tc:xas Property Code; I HEREB Y
                                                             ls, P1trlcla Poston, Megan L. Randle. Ebbfe Murphy, Wayne
Durrett, Thomas Delaney, Danya Gladney, ~ron Demuth                                                                           Daughtrey, Steve Leva, Nicole
                                                                , Codllls & Moody, P.C., or ASAP, as Substttnte Trustee
                                                                                                                          .
The address for the Substitute Tnistee for purposes of Section
                                                                5 l.0075(e) of the Texas Property Code is:
Codilis & Moody, P.C.
20405 State Highway 249, Suite 170
Houston, TX 77070
(281) 925-520 0
                                                               5/28/20246:04:00PM
Case 4:24-cv-02236   Document 1-5   Filed on 06/12/24 in TXSDMarilynBurgess-DistrictClerk
                                                                Page 8 of 54
                                                               HarrisCounty
                                                               EnvelopeNo:88188554
                                                               By:CUERO,NELSON
                                                               Filed:5/28/20246:04:00PM




                        EXHIBIT
                               B
           ,,...___...._ vv-vvv ~u
                                     LJucumem 1L. Hied on 04/20/21 in TXSD Page 8 of 31
                                          i .
Case 4:24-cv-02236                   Document 1-5          Filed on 06/12/24 in TXSD                  Page 9 of 54




    Retum To:
    WELLS FARGO BANK, N.A.
    FINAL DOCUMENTS X999&..o1M
    1000 BLUE GENTIAN ROAD
    EAGAN, MN !!B121-166'3
    Prepared By:
    WELLS FAR GO BANK, N.A,
    2701 WELLBFARGO WAY
     MINNEAPOLIS, MN 51$467-


   - - - - - - - - - - BJ)"lce Above Thfs Una For Recording
                                                                        Dllla - ~ - - - - - -

                                         DEED OF TRU ST
                                                                                       llllo1 ss
   NOTIC E OF CONFI DENTI ALITY RIGHT S: IF YOU ARE A NATUR
                                                            AL
   PERSON, YOU MAY REMO VE OR STRIK E ANY OR ALL OF THE
   FOLLO WING INFOR MATIO N FROM ANY INSTR UMEN T THAT
   TRANS FERS AN INTER EST IN', REAL PROPERTY BEFOR E IT
                                                             IS
   FILED FOR RECOR D IN THE PUBLI C RECORDS: YOUR SOCIA
                                                              L
   SECURITY NUMBER OR YOUR DRIVE R'S LICENSE NUMB ER.
   DEFINITIONS
   Words used In multlple sections of tills document are defined below and
                                                                                  other words are
   defined Ir, Sections 3, 11, 13, 18, 20 and 21. Certain ru~es regarding the
                                                                              usage ofworos used
   In this dooument are 111&0 provided In Section 16.
                                                                                                •
   (A) "Security Instrument" means this document, which Is dated OCTOBE
                                                                       R a, 2008
   together with all Riders· to this dooument.
   {BJ "Borrow er' Is

    CHARLES RAY MOSELY, AN UNMARRIED PERSON




   Borrower Is the grantor under this Security lnstrumont.
                                                                                                        J
                                                                                         GF t (;} /,;J..:l. j  71
   (C) "Lender" fs WELLS FARGO.BANK, N.A.                                                27/B. mmDORF.ER
                                                                                         STEWART T:tTLS co,
   Lender Is a National AaeoelaUan
   organfzed end e-xlsting tJnder the laws of THE UNITED STATES OF AMERICA
   TEXAS. Single Famlly - Farv1f ~elf.-.dd lo M11,; UNIFORM INURUMENT                  FORM 3044     1/01
   P•~• 1 of 19      lnJUalo: ·~\..                                                    STXl)fA Rev 07/11/07


                                                       THIS DOCUMStlT hAS 'l£F...i't
                                                      EL'ECTRONJCAU.Y RECORDED



                                                                                                       APP.1
                                                                 Document 12 Filed on 04/20/21 in TXSD Page g of 31
                    Case 4:24-cv-02236                         Document 1-5                     Filed on 06/12/24 in TXSD                   Page 10 of 54



                    ,,




                          Lender's address Is
                           P.O. BOX S137, DES MOINES, IA 50:J06-1>1g7
                      lander ls the beneflelary under thl5 Seour1ty Instrument.
                      (D) ''Truat&e" Is ROBERT K, FOWLER
- - ~ - -------,rua tee's"iiai;l ress Is____                         ---
                      10383 RICHMOND #8601 HOUSTON, TX 77042
                      {E) "Not& means the promlasory note signed by Borrower' and dated OCTOBER 3, 2008
                                         b


                      The Note states that Borrower oWEI& Lender 'THIRTY-FOUR TI-IOUSAND FOUR HUNDRED
                       AND N0/100                              -                                                      Dollars
                     (U.S.$ .......~...'1!XMllL ..........) plus Interest, Borrower has promleed to pay this debt tn regular
                      Perlodlo Payments B.nd to pay the debt In full not later than NOVEMBE'R 1 2098
                                                                                                          1
                     (F) "Property" meant th~ Pl'OPlltty that Is deai!rlbed be low undar the ht;,,adlng      "Transfer OT    I
                      Rights In the Property."
                          {G) "Loanm ffillAnA tha dtJbt Avldonl'lnd by j~.,                  ~,.,~b. plu. loloro5t,   any propmym""' Oh"-'9'"'
                          and hue churye~ ~uo uncter the Note, and all sums due under thl~ SMurlty lncll'l.lMM,r. ~lul!',
                           lntererst,
                          (H) "Rld.,ri," means 1,1II Alders to this Security Instrument that are executed                        by Borrower.
                          The fo!lowfng Rfdera ero to be ei<uouted by Borrowef [oheok box a~pllcable[ :
                          D Adjustable flete Rider O Condominium Rider                                            LJ Second Home Rider
                          D       Balloon Rider                  D     Planned Unit Development Rider D 1-4 F11mlly Alder
                          D       VA Alder                       D     Blweek!y Payment Rider                     D
                                                                                                        Other(s) [specify]

                          (I) 0Appllcablo Law" means all controlling appllcable foderol, state and local statutes,
                           regulations, ordinances and admlnlstrntlve rules and orders (th11t have the effect of law} as
                          well as all applloable flnal, non-appealable judlc!a.l opinions.
                          (J) "Community Auoelation Dues, Feeu, and Aasassment11 11 means alt dues, fses,
                           assessments and other charges that are Imposed on Borrower or the Property by a
                          condominium association, homeowners association or slmllar organllatlon.
                          (K) "Eloctronlc Funds Transfer" means any transfer of funds, other than a transaction
                          orlglnat&d by check, draft, or slmllar paper Instrument, which Is Initiated through an
                          eleotronlo terminal, telephon!o Instrument, computer, or magnet!o tape so es to order,
                          lnstruot, or authorize a f!nanolal Institution to debit or oredlt an account. Such term Includes,
                          but ls not limited to, point-of.sale transfers, automated teller machine tramsactlons, transfers
                          lnltiat&d by telephone, wire transfers, and automated clearinghouse transfers.
                          (L) "Escrow Items" means thoi;e Items th11t are described In Sectfon 3.
                          (M) "Ml9CGllanaous PrOCffda" means any compensation, settlement, award of damages, or
                          proceeds paid by any third party (other thart lnsurnnce proceeds paid under the coverages
                          described In Section 6) for: (I} damage to, or deatructlon of, the Property; (II) oandamnatlon
                          or other taking of all or any part of the Property; (IIO oonveyanoe rn l\eu of condemnation; or
                          (Iv) misrepresentations of, or omissions as to, the value and/or condition of the Proparty,
                          {N) ''Mortgage Insurance• means Insurance protecting Lender against the nonpayment of, or
                          default on, the Loan.
                          (0) "Perlodlo Payment" means the regularly scheduled amount due for (Q prlnclpal and
                          lntorest under the Note, plus (Ii) any amounta under Section 3 of this Seeuiity Instrument.
                          (P) "RESPA" means the Real Estate Settlement Procedures Act (12 U.S.0. Secflori 2601 et
                          seq.) and Its lmplemantlng regulation, Regulat1on X (24 C.F.R. Part 3500), as they might be
                          STX02     Rev 12/18/00 •                       Paue z of 18               lnlllah,:M                 RlRM 3044   1/01




                                                                                                                                              APP. 2



                              TOGETHER WITH all the Improvement-a now or hereafter ereoted on the property, and
                         all easements, appurtenances, and fixtures now or hereafter a part of the property. All
                          r'A"l""'""'"nt<> anrl .,,l,11,f,..,,.o o.h,oll .,1,.,.. h .. ,..
                       va~t 4.LJ.-i.;v-uu..:S~b    uocum ent 12 Filed on 04/20/21 in TXSD Page _12 of 31
                   Case 4:24-cv-02236              Document 1-5           Filed on 06/12/24 in TXSD                Page 11 of 54




                            Any application of payments, Insurance proceeds, or Mlsoellanaous
                                                                                                       Proceeds to principal
                        due under the Noto shall not exte rid or postpone the due dale, or
                                                                                               ohan[Je the amount, of the
                        Periodic Payments,
-- ---- - - - - ~ - --....3 ..Eunds-for!:acrow-ltems-Bor.row
                                                                er:..shalLpayJo .Le.odar_on .the_day_e.e.r.todlcJ'!lY-m.e.nta_____ _____
                        are due under the Note, unHI the Note Is paid In full, a sum                                                     _____ _
                                                                                            (the "Funds") to provide for
                        payment of amounts due fur: (a) taxes and ai;sessments and other
                                                                                                    Items which can attain
                        priority over thla Security lnatrumant as a lien or encumb
                                                                                           rance on the Property; (b}
                        leasehold payments or ground rents on the Property, If any: (o)
                                                                                                premiums for any and all
                        lnsuranoe required by Lender under Saotlon 5; and (d) Mortgag
                                                                                                e lnsuranoe pramlums, ff
                        any, or any suma payable by Borrower to Lender In lleu o1
                                                                                              the payment of Mortgage
                       Insurance premlume In accordance wllh the provisions of Sact1on
                                                                                               10. These Items ere oalled
                        "fa.crow Items." At origlnetlon or at any time during the term
                                                                                               o1 the Loan, Lender may
                       require that Community Association Dues, Fees, and Asi;essments,
                                                                                                    If any, be escrowed ~y
                        Borrpwer, end such dues, foes and asseeisments shall be an Esorow-
                                                                                                        Item, Borrower shall
                       promptly furnish to Lender all notices of amounts to be paid under
                                                                                                     this Seotlqn. Borrower
                       shall pay Lender the Funds for Escrow Items unle6-6 Lender waives
                                                                                                  Borrower's obllgatlon to
                       pay the Funds fur any or all Escrow Items, Lender may waive Borrow
                                                                                                       er's obllgatfon to pay
                       to Lender Funds for any or all Esorow Items at any time. Any
                                                                                           suoh waiver may only be In
                       writing. In the event of suoh waiver, Borrower shall pay dlreotly,
                                                                                               when and where payable,
                       the amounts due fur any Escrow Items for which payment of Funds
                                                                                                        has been waived by
                       Lender and, If Lender requires, shall furnish to Lender receipts
                                                                                                evldenetng such payment
                       within suoh time perfod as Lender may require. Borrower's
                                                                                               obllgatron to make such
                       payments and to provl~e receipts shall for all purpos1;1s be deern1;1d
                                                                                                      to be a covenant and
                       agreamenl oontalned !n thk! Security Instrument, as the- phrase
                                                                                              "covenant and agreement'
                       le used In Section 9,_ If Borrower Is obllgated to pay Esorow Items
                                                                                                    dlreotly, pursuant to a
                       waiver, and Borrower falls to pay !he amount due for an Escrow
                                                                                              Item, Lender may exercise
                       Its rights under Section 9 and pay such amount and Borrower shall
                                                                                                  then be obligated under
                       Section 9 to repay to Lender any such amount. Lender may revoke
                                                                                                   the waiver as to ei.ny or
                       all Esoruw lterm1 at any time bye notice given In accordance with
                                                                                               Section i6 and, upon such
                       revocation, Borrower shall pay to Lender all Funds, and ln such
                                                                                                  amounts, that are then
                       required under this Section 3.
                             Lender may, et any time, collect and hold Funds In an amount (a)
                                                                                                     sufficient to permit
                       Lender to apply the Funds at the tlm!l speri!fla d under RESPA,
                                                                                              and (b) not to exoeed the
                       maximum amount a lender can require under RESPA. Lender shall
                                                                                                   estimate the amount of
                      Funds due on the basis of currant data and reasonable estimate
                                                                                              s of expendlrures of future
                      Escrow Items or otherwise In aooordenca with Applicable Law.
                             The Funds shall be held In an Institution whose deposits are Insured
                                                                                                          by a federal
                     ·agency, Instrumentality, or entity (lneludlng Lander, ff Lender
                                                                                                 Is an institution whose
                      deposits are so Insured) or In any Federal Home Loan Bank. Lender
                                                                                                      shall apply the Funds
                      to pay the Escrow lteme no later than the time speolfled under
                                                                                                RESPA. Lender shall not
                      oharge Born;iwer -br hoktlng and applying the Funds, annually
                                                                                                    analyzing the esorow
                      aooount, or verifying the Esorow Items, unl11s11 Lender pays Borrow
                                                                                                 er lntere!t on the Funds
                      and Applicable Law permits Lender to make such a oharge, Unless
                                                                                                    an agreement 111 made
                      In writing or Applloable Law requires Interest to be paid on the
                                                                                          Funda, Lender shall not be
                                                              r


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                                                                                                                     APP.5
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                           required to pay Borrower any Interest or earnings on the Fund.s,
                                                                                                  Borrower and Lender can
                           agree In writing, however, that Interest shall be paid on the Funds,
                                                                                                          Lender shall give to
                           Borrower, without charge, an annual aooountlng oftha Funds as required
---- - - - - - - --------J tthere1 s-a-sur plusof- Funds- held··lh                                           by REBPA.
                                                                          eMrow ,as-de flned-u i:ider-R ES.P-A ,J..end sr_aha ll~-----
                           aooount to Borrower for the excess funda In aooordanoe with RE:SPA.                                         ----
                                                                                                         If thero Is a shortage
                           of Funds he!d In eserow, as defined under RESPA, Lender shall notify
                                                                                                         Borrower as required
                           by AESPA, and Borrower shall pay to Lender the amourrt necessa
                                                                                                           ry to make up the
                           shortagi, In aocordenoe with RESPA, but In no more than 12 monthly
                                                                                                       payments. If there Is a
                           deffolenoy of Funds held In esorow, as defined under RESPA, Lender
                                                                                                         shall notffy Borrower
                           as required by RES PA, and Borrower shall pay to Lender the amount
                                                                                                        necessary to make up
                           the deficiency In accordance with RESPA, but In no more than 12
                                                                                                monthly payments,
                             •    Upon payment In full of all suma secured by this Security Instrume
                                                                                                          nt, Lender shall
                          promptly refund to Borrower eny Funds held by Lander.
                                 4. Charges; Liens. Borrower shall pay all taxes, as11essments, oharges
                                                                                                              , 1lnes, ano
                           Impositions a11rlbutable to the Property which can attain priority
                                                                                                            over this Security
                           Instrument, leasehold payr;nents or ground rents on the Property
                                                                                                   , If any, and Community
                          Assooiation Dues, !=ees, and Assessments, lf any. To the extent that
                                                                                                     these Items are Esorow
                           Items, Borrower shall pay them In the manner provided In Section
                                                                                                  s.
                                 Borrower shall promptly discharge any lien whloh has priority over
                                                                                                           this Security
                          Instrument unless Borrower. (a) agrees In writing: to the paymen
                                                                                                t of the obllgatton secured
                          by the lien In a manner acceptable lo Le-nder, but only so long as Borrowe
                                                                                                                 r ls perfonnlng
                         suoh agreement; (b} contests the lien In good faith by, or defends
                                                                                                     against enforoement of
                         the ll&n In, legal proceedings which In Lender's opinion operate
                                                                                               to prevent the enforcement
                         of the llen while those proceedings are pending, but only until
                                                                                                      auoh prooeedlngs are
                         oonoluded: or (o) secures from the holder of the lien an a11reem
                                                                                                 ent satisfactory to Lender
                         subordinating the lien to th,ls Security Instrument. If Lender determin
                                                                                                      es that any part of the
                          Property Is aubject to a llen which can attain priority over this Sec1Jrlty
                                                                                                            Instrument, Lender
                          may give BoJTOwer a notice Identifying the llen, Within 10 days
                                                                                                 of the data on which that
                         notice Is given, Borrower shall satisfy the lien or take one or more
                                                                                                      of the actions set forth
                         above In this Section 4,
                             . Lender may requlre Borrower to pay a one-!lme charge fi;,r a
                                                                                                  real estate tax verttloatlon
                         and/or reporting servlCl! used by Lender In connection with this Loan,
                                 6, f>roll()rty tnaunmo e, Borrow or shall keep the Improve ments
                                                                                                   now existing or hereafte r
                          ere-0ted on the Property Insured against loss by fire, hazards
                                                                                                  included within the term
                          'extended coverage." and any other hazards Including, but not limited
                                                                                                          to, earthquakes and
                         floods, for' which Lender requires lnsuranoe. This lnsuranoo shall
                                                                                                       be maintained In the
                         amounts (lnoludlng ded\Jotlble levels} and for the periods that lender
                                                                                                       requires, Whal Lender
                         requires pure uant to the preceding aentences oe1n change during
                                                                                                 lhB tBrm of the loan, The
                         IMUranoe carrier providing the lnaurance &hall be chosen by Borrowe
                                                                                                         r subject to Lender's
                         right to disapprove Borrower's choice, which right shall not be
                                                                                                    exercised unreasonably,
                         LGnder may require Borrowor to pay, In oonneotlon with this Loan,
                                                                                                       either: (a) a one-tim e
                         oharge for flood zone determination, oertlfioatlon and tracking
                                                                                               services; or (b) a one-time
                         eharge for flood zone determination and certification services and
                                                                                                  subsequent charges each
                         time remap pings or slmllar changes ooour whloh·reasonably might
                                                                                                   affect such determination


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                                                                                                                     APP. 6
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                     or certlficatton. Borrower shall alao be responsible
                                                                                 for the payment of any fees Imposed by
                     the Federal Emergenoy Management Agenoy
                                                                         In connection with the review of any flood
                     Lc>ne determination resultlng from an obJeo
                                                                   tlon by Borrower,
____ __ -~ ___ -~ ~ If Borro wer falls to mainta
                                                      in any of the ooveni_g_es described above, Lende
                     lnsuranoe ooveraQ"e, at Lender'e option and                                               r may obtai n___ ___ __ __ _   _ __
                                                                          Borrowe?s expense. Lender Is under no
                    obflgatlon to purohase any particular type or amoun                                                            •
                                                                                 t of coverage, Therefore, such coverage
                    shall oover Lender, but might or might not protec
                                                                                   t Borrower, Borrower's equity In the
                    Property, or the contents of the Property, agains
                                                                              t any risk, hazard or liability and might
                    provide greater or lesser coverage than was previo
                                                                                   usly In effect. Borrower acknowledges
                    that the cost of the lmrnranoe coverage so obtain
                                                                             ed might slgnlfloantly exceed the cost of
                    Insurance that Sorrower could have obtained.
                                                                           Any amounts disbursed by Lender under
                    this Section 5 shall beoome additional dsbl of Borro
                                                                                wer secured by this Security Instrument.
                    These amounts shall bear Interest et 1he Note
                                                                        rate from the date of disbursement end shall
                    be payable, wlth such Interest, upon notlCil from
                                                                          Lander to Borrower requesting payment,
                           All lnsuranoe po!lcles required by lende r and renew
                                                                                        als of such poilc1ea shall be subJeot
                    to Lender's right to dlsapprqve such pollcles, shall
                                                                               Include a standard rnortga9e claui;e, and
                    &hall name Lender as mortgagee and/or as en
                                                                         addltlonal loss payee. Lender shall have tha
                   right to hold the policies and renewal certific
                                                                           ates, If lende r requires, Borrower shall
                    promptly give to Lender all receipts of paid premi
                                                                                 ums and renewal notices, If Borrower
                   obtains any fonn of Insurance coverage, not otherw
                                                                                 ise required by Lender, for damage to,
                   or destruction of, 1he Property, su~h polioy shall
                                                                             Include a standard mortgage clause and
                   shall name Lender as mortgagee and/or as an addlllo
                                                                                   nal loss payee.
                           In the event of loss, Borrower shall give prompt
                                                                                   notice to the Insurance carrier and
                   Lender. Lend er may make proof of loiis If not
                                                                        made promptly by Borrower. UnleSll Lender
                   and Borro wer otherwise agree In writing, any
                                                                            Insurance prooeeds, whether or not the
                   underlying fnsurance was required by Lender, shall
                                                                                be applied to restoration or repalr of the
                   Property, If the restoration or repair Is economlcalf
                                                                                y feaslble and Lender's security ls not
                   lessened, During such repair and restoration
                                                                        period, Lender shall have the right to hold
                   suoh Insurance proceeds untll Lender has tiad
                                                                          an opportunity to Inspect such Property to
                   ensure the work has been completed to Lender's
                                                                            satisfaction, provided thal such Inspection
                  shall be undertaken promptly, Lender m&Y
                                                                           disburse prooeeds for the repairs and
                   restoration In a single payment or In a series
                                                                               of progress payments as the work is
                  completed. Un(e&S an agreement Is made In writing
                  be paid on such Insurance proceeds, Lender                      or Appfioable Law n~qulr es Intere st to
                                                                        shall not be required to pay Borrower any
                  interest or earnings on suoh proceeds. Fees
                                                                        for public adjusters, or other third parties,
                . retained by Borrower shall not be paid out of
                                                                      the Insurance prooeeda and shall be the sole
                  obligation of Borrower. If the rHtora tion or repair
                                                                              Is not econamioally fea6lble or Lender's
                  security would be le66ened, the lnsuranoe prooee
                                                                            ds shall be applled to the sums seoured
                  by thls Seeurlty Instrument, whether or not then
                                                                                 due, with the excess, If any, pald to
                  Borrower. Suoh Insurance prooeeds shall be appUa
                                                                             d In the oroer provided for In Section 2.
                          If Borrower abandons the Property, Lender may
                  lnsuranoe claim and related matters. If Borro                   file, negotiate and ssttle any 1wallable
                                                                       wer doe& not raepond within 30 days to a
                  notice from Lender that the Insurance carrie r ha&
                                                                           offered to settle a claim, then Lender may
                 negotiate and settle the clalm. The 30-day period
                                                                          wlll begin when the notloe Is given, In



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                                                                                                                        APP. 7
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      either event, or If Lender acquires the Property under Seotlon
                                                                              22 or otherwise, Borrower
      hereby asalgns to Lender {a) Borrower's rights to any Insurance
                                                                              proceadll ln an amount not
     to exceed the amounts unpaid under the Note or this Security lnstrume
                                                                                       ,,t, and (b~ any other
      of Borrower's rights (other than the rlghl to any refund of unearne
                                                                                      d premiums paid by
      Borrow erJuno er air-Insurance pollcles ooverlng-ttf~1Properrr,
                                                                            -lnsofar as suoh- rtghti ntre-- ~~-- ~ ••
     applicable to the coverage of the Property. Lender may uee the
                                                                              Insurance proceeds either
     to repair or restore the Property or to pay amounts unpaid under
                                                                                the Note or this Security
      Instrument, whether or not then due.
            6. OcCUPf!ncy, Borrower shall occupy, estabHsh, and use the Property
                                                                                             as Borrower's
       prlnclpa.l residence within 60 days after the execution of this Security
                                                                                       Instrument and shall
      continue to occupy the Property es Borrower's prlnclpal residenc
                                                                             e for at least one year a1ter
      the date of oooupanoy, unless Lender otherwise agrees In writing,
                                                                                  which oonsent shall not
      be unreasonably withheld, or unless extenuating circumstances
                                                                                 eldst which are beyond
      Sorrower's control.
             7, PraservaHon, Maintenance and Protection of the Property; lnapecff
                                                                                           ona. Borrower
      ehall not destroy, damage or Impair the Property, allow the
                                                                              Property to deterlorate or
      commit waste on the Property, Whether or not Borrower Is
                                                                               re!:ldlng In the Property,
      Borrower shall maintain the Property In order to prevent the Property
                                                                                      from deterforaUng or
     decreasing In value due to Its condition. Unless It la determined
                                                                               pursuant to Section 6 that
     repair or restoration Is not economloalfy feaslble, Borrower
                                                                              shall promptly repair the
      Property If damaged to avold further deterioration or damage. If
                                                                             Insurance or condemnation
     proceeds are paid In conneC11on w(th damage to, or the taking
                                                                              of, the Property, Borrower
     shall be responsible for repairing or restoring the Property only
                                                                                  rf Lender has released
     proceeds for suoh purposes, Lender may disburse proceeds for
                                                                             the repairs and rsstoratlon
     In a single payment or In a series of progress payments as the
                                                                                work Is completed. If the
     Jneurance or condemnation proceeds ere not suffiolent to repair
                                                                                 or restore the Property,
     Borrower Is not relieved of Borrower's obligation for ihe complet
                                                                                    ion of such repair or
     restoration,
            Lender or Hs agent may make reasonable entries upon and Inspecti
                                                                                        ons of the Property.
    11 It has reasonable cause, Lender may ln~pect the lnterlor of the
                                                                                     Improvements on the
    Property. Lender shall give Borrower notice at the time of or
                                                                               prior to &Uch an Interior
    Inspection specifying such reasonable cause.
            a, Borrcmer'a Loan Application. Borrower shell be In default if, during the Loan
     applloatlon prooese, Borrower or any pet'5ons or entitles acting
                                                                            at th& direction of Borrower
     or with Borrower'11 knowledge or consent gave materlally false,
                                                                               mlsleadlng, or lna~ura te
     Information or statements to Lender (or failed to provide Lender
                                                                               with matarlsl fnfonnatlon)
    In conneotlon with the Loan. Material representations Include,
                                                                                 but are not llmlted to,
     representations ooncemlng Borrower's oceupancy of the Propert
                                                                              y as Borrower's prlnclpal
     residence.
            9. Protection of Lender's Jntere11t In the Property and Rlghtll Under
    Instrument. 11 (a) Borrower falls to perfom, the oovenMts and                     Chia Securtty
                                                                         agreements contained In this
    Seourlty Instrument, (bl there Is a legal proceeding that might
                                                                            slgnlfloantly affeot Lender's
    Interest !n the Property and/or rl9hts under this Security lnatrum
                                                                             ent (such as a prooaadlng
    In bankruptcy, probate, for oondernnatlon or forfeiture, fur enfuroe
                                                                              ment of a llen wh lch may
    attain priority over this Security Instrument or to enforce law!! or
                                                                            regulations), or


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                                                                                                       APP. 8
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                          (o) Borrower has abandoned the Property, then Lender may do and pa:y for whatever.
                                                                                                                          la
                          reasonable or appropriate to protect Lender's Interest In the Property and rights under
                                                                                                                        this
                          Security Instrument, lnoludlng proteotlng and/or assessing the value of the Property,
________ - - - ~ - - __ securing and/or repalrlng the Property. Lender's actions                                        and
                                                                                       oan Include, but are not Jlmlted to:
                        -(a}payln g any sums 6eourei:r oysllenW n!cn,as pHontyownnJsSecm-liy--tnstfil1"ne111;"
                                                                                                                           (bt- - - - ~----~ -- -- --
                          appealing In court; and (c} paying reasonable attomey11 1 feel! to protect Its lnterei;t
                                                                                                                     !n the
                          Property and/or rights under this Seourlty Instrument, Including Its secured position
                                                                                                                       In &
                          bankruptoy prooeedlng. Securing the ·Property Includes, but Is not llmlted to, entering
                                                                                                                        the
                         Property to make rapalrs, ohange looks, replace or board up doors end windows,
                                                                                                                      drain
                         water from pipes, ellmlnate bulldlng or other O<Xfe vloietlons or dangerous oondltlons
                                                                                                                        and
                         have utilltlas turned on or off, Although Lender may take aotlon under this Seotl~n
                                                                                                                          9,
                         Lender does not have to do so and Is not under any duty or obllgatfon ta do so, 11 Is
                                                                                                                   agreed
                         that Lender In ours no l!ablllty for not taking any or all actions authorizad under this
                         9,                                                                                       Section
                                Any amounts disbursed by Lender under this Seotlon ll shall become additional debt
                                                                                                                         of
                            Borrower secured by !his Seourlty Instrument. These amounts ahall bear Interest
                                                                                                                      at the
                            Nole rate from the date of dfabureemenl and shall be payable, with such Interest,
                            notloe from Lender to Borrower requesting payment,                                          upon
                                If this Security Instrument Is on a leasehold, Borrower shal! oomply with all the
                            provisions of the lease, If Borrower acquires fee tllfe to the Property, the leasehold
                                                                                                                    and the
                           fee title sha!l not merge unles.:i Lender agrees to the merger In writing.
                                10. Mortgage Insurance. If Lender required Mortgage lnsuranoe as a condition of
                           making the Loan, Borrower shall pay the premiums required to maintain the Mortgage
                           Insurance In effect. tf, for any reason, the Mortgage Insurance coverage required by
                                                                                                                     Lender
                           ceases to be available from the mortgage Insurer that previously provided such Insurance
                           and Borrower' was required to make separately designated payments toward the premiums
                           for Mortgage Insurance, Borrower shall pay the premiums required to abtafn
                                                                                                                  coverage
                           substanllally equlvalen1 to the Mortgage Insure.nee previously In effect, at
                                                                                                                     a cost
                           subst11ntlally eiqulvalent to the cost to Borrower of the Mortgage Insurance previously
                                                                                                                             In
                           effect, from an alternate mortgage insurer selected by Lender. If substantially equlva
                                                                                                                          l6nl
                           Mortgage Insurance CQVerage rs not aval!able, Borrower shall ooritlnue to pay to Lender
                                                                                                                           the
                           amounl or the separately designated payments that were due when the lneurance
                                                                                                                  coverage
                           ceased to be In effect. Lender wll I aeoept, use and retafn these payments
                                                                                                                       as e
                           non-refun dable loss reserve In lfeu of Mortgage Insurance. Suoh losa reserve
                                                                                                                   shall be
                           non-refundable, notwithstanding the fact that the Loan Is ultlmalely paid In full, and
                                                                                                                     Lender
                           shall not be required to pay Borrower any Interest or earnings on such loss
                                                                                                                   reserve.
                           Lender can no longar require loss reserve payments If Mortgage Insurance coverage
                                                                                                                     fln the
                           amount and for the period that Lender requires) provided by an insurer selected by
                                                                                                                     Lender
                          again b&comes avallabfe, Is obtained, and Lender requires E.leparately designated payments
                          toward the premiums for Mortgage Insurance. If Lender required Mortgage Insurance
                                                                                                                        as a
                           condition of maklng the Loan and Borrower was required to make separately designate(
                                                                                                                              !
                          payments toward the premiums for Mortgage ln$urance, Borrower shall pay the premiums
                          required to maintain Mortgage lnsuranoe In effect, or to provide a non-rf!fundable
                                                                                                                         loss
                          reserve, untll Lender's requirement for Mortgage Insurance end11 In accordance
                                                                                                                  with any
                          written agreement between Borrower and Lender providing fur such termination
                                                                                                                    or until
                          terminatio n la required by Applfceble Law. Nathlrrn In this Section 10 affaols
                                                                                                                Borrower' s
                          obligation to pay Interest at the rate provided In the Nnte.

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                                                                                                                            APP. 9
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                           Mortgage Insurance reimburses Lender (or
                                                                             any entity that puroheses the Note) for
                    certain losses ft may Incur tf Borrower does
                                                                        not repay the Loan as agreed. Borrower
                    a party ta the Mortgage Insurance.                                                                   Is not
- - - --- --- -- ~-M ortg age- Insu rers
                                              _evaluate theld otal- rlsk ·on alLsuch-lnsuran
                   time, and may enter Into agreements with                                      ce-ln-forca-from-tlm8-to- --- -- -- ---
                                                                      other parties that share or modify their                           --
                    reduce losses, These agreements are on                                                             rlsk, or
                                                                  tenns end conditions that a.re satisfactor
                   mortgage Insurer end the other party (or                                                         y to the
                                                                   parties) to these agreement$, These agree
                   may require the mortgage Insurer to make                                                             ments
                                                                        payments us!ng any souroe of funds that
                   mortgage Insurer may have available (whic                                                                 the
                                                                      h may Include funds obtained from Mortg
                   Insurance premiums).                                                                                     age
                         As a result of these agreements, Lender,
                                                                          any purchaser of the Note, another insurer,
                   any relnsuror, any other entity, or any affilia
                                                                     te of any of the foregoing, may receive (dlreo
                   or lndlreotly) amounts that derive from                                                                    \ly
                                                                     (or might be characterized as} a portio
                   Borrower's payments for Mortgage Insur                                                                 n of
                                                                 ance, ln exchange for sharing or modifying
                  mortgage Insurer's risk, or reduolng losse                                                                the
                                                                  s, If suoh agreement provides that an affilia
                   Lender takes a share of the Insurer's risk                                                             te of
                                                                  In exchange for a share .of the premiums
                  the Insurer, the arrangement Is often terme                                                         paid to
                                                                  d 'captive reinsurance,• Further.
                         (a} Any 11uoh agreements WIii not affect the
                                                                            amounts that Borrower hes agreed to pay
                  for Mortgage Insurance,, or any other tenns
                                                                      or the Loan, Suoh agreements will not lncrea
                  tho amount Borrower will owe for Mortgage                                                                   ae
                                                                      lnaurance, and they wlll not entitle Borrower
                  any refund.                                                                                                  to
                         (b) Any such agreements will not affect tt,e
                                                                            rights Borrower hl'la - It any - with r"pa ol
                  to the Mortgage lnaunmc"" l.lnder Iha Home
                                                                    owners Protection Act ot 1990 or any other
                  Th11&a rlghta may Include the right to receiv                                                            law;
                                                                        e certaln dlacloaurea, to request and obtain
                  cancellation of the Mortgage Insurance
                                                                , to have the Mortgage Insurance termi
                  automatfoelly, and/or to receive a retund                                                             nated
                                                                  of any Mortgage Insurance premiums that
                  unearna-d at the 'tlme of a.uch cancallatlon                                                           were
                                                                or tennlnatlon,
                        11, Assignment ot Mlec01Janeous Proceeds;
                                                                            Forfeiture. All Miscellaneous Proceeds are
                 hereby assigned to and shaH be paid to Lende
                                                                       r.
                         If the Property Is damaged, suoh Mlsce
                                                                    llaneous Proceeds shall be applied to
                 restoration or repair of the Property, If the
                                                                 restoration or repair Is eoonomloafly feasib
                 Lender's security Is not lessened. During                                                            le and
                                                                 i;uch repair ii.nd rastoratlon period, Lend
                 have the right to hold such Mlsoallanaous                                                          er shall
                                                                  ProeeedG untll Lender har:i had an oppo
                 inspect suoh Property to eneure the work                                                         rtunity to
                                                                      has been oomplerad to Lender's satisfactio
                 provided that such lnspeotton shall be unde                                                                  n,
                                                                   rtaken promptly, Lender may pay for the
                 and restoration In a single dlabursement                                                            repairs
                                                               or In a series of progress payments as the
                 oompleted, Unless an agreement Is made                                                             work
                                                                 In writing or Appllcable Law requires Intere Is
                 be pafd on such Mlsoalleneous Proceeds, Lend                                                            st to
                                                                         er shall not be required to pay Borrower
                Interest or earnings on such Miscellaneo                                                                   any
                                                                us Proceeds. If tha restoration or repair
                economically faaslbla or Lender's seourlty                                                             ls not
                                                                  would be lessened, the Mlacellaneous Proce
                shell be appf!ed to the sums secured by                                                                    eds
                                                               this Security lnlitrument, whether or not then
                with the excess, It any, paid to Borrower.                                                                dua,
                                                                Suoh Miscellaneous Proceeds shall be applie
                the order provided tor In Seel Ion 2.                                                                    d fn




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                                                                                                                  APP. 10
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                                  In the event ofa total taking, deslruotlon, or loss In value
                                                                                                 oftha Property, the
                            Miscellaneous Prooeeds shaU be applied to the sum$ seoured
                                                                                                   by this 8eourlty IRstrument,
                            whether or not then due, with the exoess, lfany, paid to Borrow
- - - - . ~ - --- . - . -- ~ - Jn .the _event of!Lpartla l.tak!ng,                                er.
                                                                  _de.struoHon,_or_lose Jn_velue__of theJ~roparty Jn_ which Jhe____
                            fair market value of the Property lmmedlately before the                                                _
                                                                                           partla[ taking, destruction, or loss
                           In value Is equal to or greater than t_he amount of the
                                                                                             sums secured by this Security
                           Instrument Immediately before the partial taking, destruo
                                                                                              tlon, or loss In value, unless
                           Borrower and Lender otherwise agree In writing, the
                                                                                            sums seoured by this Security
                           Instrument shall be reduoed by the amount of the Miscell
                                                                                          aneous Proooods mu/ti plied by the
                           following fraction: (a) the total amount or the sums eeoured
                                                                                               Immediately before the partial
                           taking, destruclfon, or loss In value divided by (b} the
                                                                                          fair markel value of the Property
                           lmmedlately before the part!al taking, destruction, or loss
                                                                                             1n value. Any balance sh&II be
                           paid to Borrower,
                                 ln the event of a partial taking, destruction, or loss In value
                                                                                                    of the Property In whloh the
                            fair market valu1a1 ·of the Property Immediately before the
                                                                                           partial taking, destruction, or lose
                            In value ls less than the amount of the sums secured Immed
                                                                                                iately before the partlal taking:,
                            destruction, or lose In value, Unless Borrower and Lender
                                                                                               otherwise agree in writing, the
                            Miscellaneous Prooeeds shall be applied to the sums sec(lred
                                                                                                     by this Seourlty Instrument
                           whether or not the sums ara then due.
                                 If the Property Is abandoned by Borrower, or If, after not!oe
                                                                                                    by Lande~ to Borrower that
                           the Opposing Party (as defined In the next sentence) offers
                                                                                                to make an award to settle a
                           olalm fur damages, Bom,wer falls to respond to Lender
                                                                                           within 30 days after the date the
                           notice Is given, Lender Is authorized to colleot and apply
                                                                                          the Mlscellaneous Proceeds either
                           to restoration or repair of the Property or to the sums secured
                                                                                                    by this Security Instrument,
                           whether or not then due. "Opposing Party• means the
                                                                                             third party that owes Borrower
                           MlsoaHaneous Proceeds or the party against whom Borrow
                                                                                             er has a right of action In regard
                           to Miscellaneous Proceeds.
                                 Sorrow er shall be In default ff any action or proceeding, whethe
                                                                                                        r clvll or orlmlnal, ls
                           begun that, In Lender's Judgment, could result In forfeiture
                                                                                             of the Property or other material
                           lmpalnnent of Lender's Inter-as! In the Property or rights
                                                                                              under this Security Instrument.
                           Borrower CM cure such a default and, If aooeleratlon has
                                                                                           occurred, reln$tate as provided In
                           Section 19, by causing the action or proceeding to be
                                                                                            dismissed with a ruling thftt, In
                           Lender's Judgment, precludes forfeiture of the Propert y
                                                                                            or other material Impairment of
                           Lender's Interest In the Property or rights unde·r this Securit
                                                                                                y Instrument, The proceeds of
                           any award or olalm for damages that are attributable to the
                                                                                              Impairment of Lender's lnteri~llt
                           In the Property are hereby assigned and shall be paid to
                                                                                         Lender,
                                 All Miscellaneous Proceeds that are not applied to restora
                                                                                                 tion or repair of the Property
                           shall be_ applied In the 'Order provided for In Section 2.
                                 12. Borrower Not Relli!ased; Forbearance By Landar Not a
                                                                                                  Waiver. Extension of the tlms
                           for payment or modification ot amortization of the sums secured
                                                                                                     by this Security Instrument
                           granted by Lender to Sorrower or an.y Succes&or In Interes
                                                                                            t of Borrower shall nol operate to
                           release the lfablllty of Bomiw er or any Successors In Interes
                                                                                               t of Borrower. Lender shall not
                           be required to commence prooeedlngs against any suooes
                                                                                             sor In Interest of Borrower or to
                           refuse to extend time for payment or otherwise modify amortiz
                                                                                                 ation of the sums si,cured by


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                                                                                                                              APP. 11
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                             this Security Instrument by reason of any demand made by the
                                                                                                           original Borrower or any
                             Suoce55ors In Interest of Borrower. Any forbearanoe by Lender
                                                                                                          In exercising any right or
                             remedy including, without !lmltat[oh, Lender 1s acoept11noe of paymen
                                                                                                               ts from third persons,
                             entitles or Buooessors In Interest of Borrower or In amounts less
-- - -- ------ - ------- --she.II-not-be-a waiver-of or-preolude-the-exerols                            than the amount then due,
                                                                                e of-a.ny-rl!lhtor-remedy..----- - - - - - - - - -
                                   19, Joint and Several Llabllltyi Co-signora; Successors and Aselgna
                            covenants and agrees !hat Borrower's obllgatlons and llablllty                         Bound, Borrower
                                                                                                       shall be Joint and several.
                             However, any Borrower who co-signs this Security Instrument but
                                                                                                         does not execute the Note
                            (a "co-signer"): (a) Is co--slgnlng this Security Instrument only to
                                                                                                     mortgage, grant anll oonvey
                            the co-sigher's lnterest ln the Property under the terms of this Security
                                                                                                                 lnstrumErnt; (b) Is not
                            peraonally obllgated to pay the sums secured by this Seourlty
                                                                                                       Instrument; and (c) agrees
                            that Lender and any other Borrower can agree to extend, modify,
                                                                                                                forbear or make any
                            aooommodatlons with regard to the terms of this Security tnstrume
                                                                                                          nt or the Note .without the
                            co-signer's consent.
                                   Subject to the provision of S~otlon 18, e.ny Suooessor In Interest of
                                                                                                                 Borrower who
                            assumes Borrower's obllgatlons under thl11 Security Instrument
                                                                                                       In writing, and ls approved
                            by Lender, shall obtain all of Borrower's rights and ben13flts under
                                                                                                            thfa Security Instrument.
                            BotTOWer shall not be released from Borrower'B obligations and
                                                                                                        llablllty under this Security
                            Instrument unless Lend!ilr agrees to such release In writing. The
                                                                                                       covenants e.nd agreements
                            of this Securtty ln6trument shall bind {e)(cept as provided In Section
                                                                                                                  20) and benefit the
                            suooessors and assigns of Lender.
                                                                                                                       •
                                   14. Loan Charges. Lender may charge Borrower fees for serv!oes
                                                                                                                 performed In
                          oonneotion with Borrower's default, for the purpose of protectin
                                                                                                      g Lender's Interest In the
                           Property and rights under this Security Instrument, Including, but
                                                                                                           not limited ta, attorneys 1
                           fees, property lnepeotlon and valuation feea. In regard lo any
                                                                                                     other n,es, the absence ot
                          express authority In this Security lnstru ment to oharge a speolflo
                                                                                                         fee to Borrower shall not
                          be construed as El prohibition on the charging of suoh fee, Lender
                                                                                                          may not charge fees that
                          are expressly prohibited by this Security Instrument or by Applica
                                                                                                     ble Law.
                                  If the Loan ls subjeot to a law which sets maximum loan charges
                                                                                                             , and the.I law Is finally
                          Interpreted so that the Interest or other loan charges coll~te
                                                                                                         d or to be collected In
                          oonnsctlon with the Loan exceed the pennltted limits, then: (a)
                                                                                                     any such loan charge shall
                          be reduced by the amount necessary to reduce the charge to
                                                                                                    tha pennltted limit; and (b)
                          any sume already collected from Bonower which exceeded pennltte
                                                                                                            d llmlts will be refunded
                          to Borrower. Lender may ohoose to make thll5 refund by reduofng
                                                                                                          the pr[nclpal owed under
                          the Note or by making a direct payment to Borrower. If a refund
                                                                                                              redtJoes prlnolpal, the
                          reduction will be treated aa II partial prepayment without any prepaym
                                                                                                                 ent oharge (whether
                          or not a prepayment charge Is provided for under the Nata). Borrowe
                                                                                                               r's aoceptance of any
                          auoh' refund made by dlreot payment to Borrower will constitu
                                                                                                    te a waiver o1 any rlg ht of
                          action Borrower might have arising out of such overcharge.
                                                                                                     •
                                  15. Notices. All notices given by Borrower or Lender In oon nectlon
                                                                                                                  with thlu Seourlty
                          Instrument m1Jat be In writing. Any notloa to Borrower In oonneot
                                                                                                              lon with this Security
                          Instrument shall be deemed to have been given to Borrower when
                                                                                                           malled by first class mall
                          or when actually delivered to Borrower's notice address If sent
                                                                                                       by other means. Notlca to
                          any one Borrower shall constitute notice to all Borrowers unless
                                                                                                     Applicable Law expressly



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                                                                                                                                  APP. 12
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      requires otherwise. The notice addrei;s shall be the
                                                                  Property Address unless Borrower has
      designated a substitute notice address by notice to
                                                                  Lander. Borrower shall promptly notify
      Lender of Borrower's change of address. If Lende
                                                                  r speolfles a procedure fur reporting
      Borrowsr's ohang~f_ai;!_dress, then Borrower shalt only_J
                                                                          !port a change of address throug ,c-h'-- ----
      that specified prooedure. Thl)re may be only one
                                                                  designated notloe address under this
      Security Instrument at any one time. Any notice to Lende
                                                                          r shall be given by dellverlng It or
      by malling It by flrst class mall to Lender's addres
                                                                     a stated herein unlesa lende r has
      designated another address by notice to Borrower,
                                                                      Any notice In oonneot1on with this
      Seourlty Instrument shall not be deemed to have
                                                                    been given to Lender until actually
     received· by Lender. If any notice required by this
                                                                    Seourlty Instrument Is also required
     under Applloable L.aw, 1he Appllcable Law require
                                                                   ment wlll satisfy the oorrespondlng
     requirement under this Security Instrument.
           18. Governing Law; Severablllty; RuleG of Con8b1Ietfon
     be governed by fuderal law and the law of the Jurlsdl                 . This Seourlty Instrument shall
                                                                  ctlon In which the !'roperty la !coated,
     All rights Md obligations contained In this Saourl
                                                                     ly Instrument are subJeot to any
     requirements and llmltatione of App!rcable Law. Appllc
                                                                   able Law might explloltly or lmpllcltly
     allow the parties to agree by contract or It inlght be
                                                                    ellent, but suoh sllenoe shall not be
    coni,trued as a prol\!bltlon against agreement by oontrac
                                                                      :t. In the event that any provision or
    claui,e of thla Security Instrument or the Note oonfllc
                                                                   ts with· Appllcable Law, suoh conflict
    shall not affect other provisions of this Security Instrum
                                                                     ent or the Nots which oan be given
    effect without the oonfllotlng provision.
        As used In thls Security ln!ltrument: {a) worda of the maso1
                                                                             1llne gender shall mean and
    Include corresponding neuter words or words of the
                                                                      feminine gender; (b) words In the
    sfngular shall mean and Include the plural and vloe
                                                                   versa; nod (c) the word 'may' gives
    sole dlsor&tlon without any obllgatlon to take any action,
          17, Borrower's Copy, Borrower shall be given one copy
                                                                              of the Note and ofthls
    Security Instrument.
          18. Transfer of the Property or a BeneHehII Interest fn
                                                                          Borrower. Aa uaad In 1hls
    Sootlon 18, "Interest In the Property• means any legal
                                                                   or benefiolal Interest in the Property,
    Including, but not limited to, those beneficial Interes
                                                                    ts transferred In a bond for deed,
    oontr&ct for deed, Installment sales oontraot or escrow
                                                                    agreement, the Intent of which Is the
   transfer of tltie by Borrower at a future date toe purcha
                                                                    ser.
          If all or any part of the Proper ty or any Interes t In the
                                                                         Prope rty la sold or tnlnsfurred (or
   If Borrower Is not a natural person and a baneff
                                                                 olal Interest In Borrower Is sold or
   transferred) withou t Lender's prior written consent, Lende
                                                                         r may require Immediate payment
   In full of all sums secured by this Security Instrument.
                                                                        Howeve-r, this option shall not be
   exercised by Lender If suoh exercise Js prohibited by
                                                                Applicable Law.
          If Lender exercises this option, lende r shall give Borrow
                                                                             er notice of acoeleratlon. The
   notice sha II provide a period of not less than 30 days
                                                                    from the date the notice ls given In
   aooordanoe with Section 15 within which Borrower
                                                                  must pay all sums saoured by thl.s
   Securi ty Instrument. If Borrow er falls to pay
                                                         these sums prior to the expiration of this
   period, Lender may Invoke any remed les permitted
                                                                    by this Security Instrument wltho11t
   further notice or dem11rnd on Borrower,




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                                                                                                       APP. 13
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            19, Borrower't Right 1o Reinstate After Acceleration. ff
                                                                         Borrower meets oartaln
      conditions, Borrower shall have the right to have enforo
                                                                      ement of this Security lnstrume nt
      discontinued at any time prlor to the earliest ot. (a}
                                                               five days before sale of t~e Property
  ___ P.ursuant to any l)OW8!_of sale oontalned In this Securi
                                                              ty Instrument; (b) such other P.eriod as         -
      Appllcabfe Law might specify for the termination of Borrow
                                                                       er's tight to reinstate; or (o) entry            -
      of a Judgment enforcing this Security Instrument. Those
                                                                       conditions are that Borrower: (a)
      pays Lender all i,ums which then would be due under
                                                                this Seourity Instrument and the Note
      as If no aocelerat/on had ooourred; (b) oures .-ny
                                                                  default of any other covenants or
      agreements; (o) pays all ex:pensBs Incurred In enforc
                                                             ing thl11 Security lnatrumBnt, Including,
      but not llmlted to, reasonable attorneys' fees, proper
                                                               ty lnspeolfon and valuatfon fees, and
      other fees Incurred far the purpose of protecting Lende
                                                                 r's lnlerest In the Property and rights
      under this Saourlty Instrument: and (d) takes such action
                                                                     as lende r ma.y reaaona.bfy require
     to assure that Lender's lntBrest In the Property and
                                                               rights under this Security Instrument,
     and Borrower's obligation to pay 1he sums secure
                                                               d by this Security Instrument, shall
     continue unohanged, Lender may require that Borrow
                                                                er pay such relnatatement sums and
     expenses In one or rnore of the followlng fomw, as seleote
                                                                       d by Lender: (a} cash; {b) money
     order: {c) certified oheok, bank oheok, treaaurer's cheok
                                                                      or cashier's check, provided any
     such check Is drawn upon en lnsHtutlon whose deposi
                                                                 ts are Insured by a federal agency,
     lnstrumentallty or entity; or (d) Electronic Funds Transf
                                                                er. Upon reinstatement by Borrower,
     this Security Instrument and obllgatlons secured hereby
                                                                    shall remain fully effective as ff no
     acceleration had occurred. However, this right to reinsta
                                                                     te shall not apply In the case of
     aoceleratlon under Sectiqn 1B.
           20, Sale of Note; Change of Loan Ssrvlcer; No~e o1 Grieva
                                                                            nce, The Note or a partial
     Interest In the Note (together with this Security Instrum
                                                                 ent) can be sold one or more times
     without prior notice to Borrower. A sale might result
                                                            In a change In the entity (known a.a the
    "Loan Servicer") that oolleots Period-lo Payments due
                                                                    under the Note and 1hls Security
    Instrument and performs other mortgag8 loan servici
                                                                ng obllgations under the Note, this
     Security Instrument, and Applloable Law. There also
                                                             might be one or mora changes of the
    Loan Servloer unrelated to a sale of the Note. ff them
                                                                    Is a ohange of. the Loan Servicer,
    Borrower wlll be glVBn written notice of the change
                                                            which
    of the new Loan Servlci:ir, the address to which payme will i.tate the name and i!.ddre.ss
                                                                  nts should be made and any other
     Information RESPA requires In connection with a notice
                                                                    of transfer or sarvlolng, If the Note
     Is said and thereafter the Loan ls .serviced by a Loan
                                                                Servicer other than the purchaser of
    the Note, the mortgage loan servlcln~ obligations
                                                           to Borrower wlll remain with the Loan
    Servicer or be transferred to a suocessor Loan Servic
                                                               er and are not assumed by the Note
    purchaser unless otherwise provided by the Note purcha
                                                                  ser,
           Neither Borrower nor Lender may commence, join, or
                                                                       be Joined to any Judlolal action
    (as either an lndlvldual litigant or the member of a class)
                                                                      that arises from the other party's
    actions pursuant to this SBcurlty Instrument or that
                                                                    alleges that the, other party has
    breached any provlelon of, or any duty owed by reason
                                                                      of, this Seourtty Instrument, until
    such Borrower or Lender has notlfled the other party
                                                              (w!th such notice given In compllan□ e
    with the requirements of Section 15) of auch alleged
                                                                breach and afforded the other party
    herelo a reasonable period after the giving of suoh
                                                                  notice to take corrective actfon, If
    Appfloeble Law provldea a time period which must
                                                              elapse before certain action can be
    taken, that time perlod wlll be de8med to be reasonable
                                                                   for purpoaes of thfs paragraph.


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                                                                                                        APP. 14
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                           The notice of aooeleratlon and opportunlty to aura given to Borrower pursuant
                                                                                                                 to Section 22
                           and the notice of aooeleratlon given lo Borrower pursuant to Seotlon 18
                                                                                                         shall be deemed to
                           satisfy the notice end opportun fty to take oorreotlve action provisions of this
- - - - - -- -- --
                                                                                                             Section 20.
                     - - - -- -21.-Hazerdoua Subi.tanCGS, As-used-In-this Sectlon-2~:-(a)__.!'_H
                                                                                                  azardous Subatan caa"----
                            are those substances defined as toxlo or hazaroous subs~anoes, pollutant
                                                                                                             s, or wastes by
                           Environmental Law and the following substanoea: gasoline, kerosene,
                                                                                                         other flammable or
                           toxic petroleum products, toxic pesticides arid herbicides, volatile
                                                                                                         solvent:1 materials
                           containing asbastos or fonnaldahyde, and radioactive materials; (b) 'Environm1
                                                                                                                    ental Lawll
                           means faderal laws and laws of the jurlsdlotlon where.the Property Is located
                                                                                                                 that relate to
                           health, safety or environmental protection; (o) "Environmental Cleanup•
                                                                                                                 lncludss any
                           response action, remedial aotlon, or removal- aotlon, as defined In Environm
                                                                                                               ental Law; and
                           (d) an "Environmental Condition" means a oondltlon that can causa,
                                                                                                            contrlbuta to, or
                           otherwise trigger an Environment Cleanup,
                                  Borrower shall not oa1Jae or permit the presence, use, disposal, storage,
                                                                                                                or release of
                           any Hazardous Substanoes, or threaten to release any Hazardous Substanc
                                                                                                              es, on or in the
                           Property, Borrower shall not do, nor allow anyone else to do, anything
                                                                                                                 affecting the
                           Property (a) that Is In violation of any Environ mental Law, (b)
                                                                                                         which creates an
                          Environmental Condition, or (c) which, due to the presence, use, or release
                                                                                                              of a Hazardous
                           Substance, creates a oond!tlon that adversely affects the value of
                                                                                                         the Property. The
                           preceding two sentences shell not apply to tha prl:lsimce, use, or storage
                                                                                                          on the Property of
                           small quant[tles of Hazardous Substances that arn generally reoognlzed
                                                                                                        to be appropriate to
                           normal resldentfa( uses and to maintenance of the Property (lncludlng,
                                                                                                          llut not limited to,
                          hazardous ~ubstanoes In oonsumer products}.
                                  Borrower shall promptly give Le rider written notice of (a) any lnvsstlgatlon,
                                                                                                                   olalm,
                         demand, lawsuit or other actlon by any governmental or regulatory agency
                                                                                                             or private party
                          Involving the Property and any Hazardous Substance or Envlronmental
                                                                                                               Law of whloh
                          Borrower has actual knowledge, (b) any Envlronrnental Condition, lnoludlng
                                                                                                               but not llmlted
                         to, any spllllng, leaklng, discharge, release or threat of release of any Ha:i:ardou
                                                                                                                 s Substanee,
                         and (o) any condition caused by the presence, use or release of a Hazardou
                                                                                                                 s Substance
                         whloh adversely affects the value of the Property, !f Borrower learns, or
                                                                                                          ls notified by any
                         governmental or regulatory authority, or any private party, that any
                                                                                                          removal or other
                         rem&dlatlon of any Hazardous Substance affecting the Property Is ·necessa
                                                                                                          ry, Borrower shall
                         promptly take all neoesaary remedlal actlona In aooordirnce with Envlronm
                                                                                                                   ental Law.
                         Nothing herein shall creat1;1 any obllgation on Lender for an Environmental
                                                                                                           Cleanup .
                                . NON-UNIFORM COVENANTS, Borrow1;1r and Lender further covenant and agree
                                                                                                                       e11
                           follows;
                                  22. Acoolen itlim; Remedies. Lender a.hen give notice to Borrower prior
                                                                                                             to e.cceleratlon
                         followlng Borrower'a brear;h ot a.ny covenant or agreement In this S~c.urlty
                                                                                                             Instrument (but
                         not prior to acceleration under Section 11;1 unless Applicable Law provides
                                                                                                             otherwise). The
                         notice shall specify: (a) the default; (b) the action lllQUlred to cure lhe
                                                                                                        default; (c) a date,
                         11ot le$8 than 30 days from the date the notice ls given to Borrowe
                                                                                                   r, by which the default
                        muel be cured; and (d) that fallure to cure thG default on or before the data
                                                                                                             epeclffed In the
                        notice will result In acceleration of the auma secunid by this Security
                                                                                                       Instrument and sale
                         of the Property. The notice shall further Inform Borrower of the right
                                                                                                          to reinstate after
                        acceleration and the right to bring a court actlan to assert the n011-exlstenco
                                                                                                               af e default or
                        eny other det8nse of Borrower to acceleratlon and aale. 11' the default Is not
                                                                                                            cured on or

                        8T)(16   Rav 10/2:6,'00              Pa11• 15 er 1~         l~IUo.l 1:~.            FORM 3044    1/01




                                                                                                                          APP. 15
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      before the dam ~lfle d In the notice, Lender_at Its
                                                                option may require Immediate payment
      In tun of all auma secured bV thla Security Instrum
                                                                  ent without further demand iiod may
      Invoke the power of aiile ltT!d any other remedia.
                                                                 permitted by Applicable Law. Lender
____ JhalLhe_e.otltkld_to__c~lle_ct all_tt~n-~_rmi;Ln:i_
                                                         p_u_rt_ulng.Jl:t_!Lmo:'l.@4iu._p.l"..O.Yl!lfill_ln.Jbl~~
     Section 22, lm:iludln9, but not llmltetl to, reasonable                                                      ---- _ ~
                                                                      attorneys' feea and coats of tHle
     evld911ce, For the purposes or this Section 22, the term
                                                                     "Lender" Includes any holder of the
     Note who Is entitled tD receive paymente under the Note.
                                                                       •
            If Lender lnvolcea the power of sale, Lender or Trustee
                                                                          •hall give notice of the time,
     place and terms of sale by poettng and ffllng the notice
                                                                         at least .21 d11ya prior to .sale aa
     provfded by AppDcable Law. Lender shall man a copy
                                                                        of 1119 notice to Borrower In the
     manner pr88crlbed by Appllcable Law. Safe shall be
                                                                made at publlc vendue. The gala must
     begin at the time stated 111 U,e notice of 8111& or not later
                                                                     than three hours attar that time and
     between the hours of 10- a.m. and 4 pJTI. on the
                                                               flret Tuesday of the month. Borrower
     aulhorlzea Trustee to sell the Property lo the highest
                                                                bidder tor cam In one or more parcels
     and In any order Tr1.1stee detannlnes. Lender or lta dealgn
                                                                         ee may purchase U,e Property at
     any aale.
           Trustee shall deliver to the purch usr Tuatee'a dGOd convey
                                                                               ing lndefeealble title to the
     Property with covenants of general warranty from
                                                                   Bom,wer. Borrower covenants and
     a9rees to defend generally the purchaa1;1r'a title to
                                                                  th11r Property against ell claims and
     demands. The recitals In 1he Tniatae's deed shall be
                                                               prlma facle evidence Qf the truth of the
     etatamenta made therein. Trustee shall apply the procee
                                                                         ds of the ea le In. the foll owing
    order. (a) to au expenaea of the aale, lnc;ludlng, but
                                                                   not llmlted to, reasonable Truatee'a
     and attomeya' tees; (b) to all auma secured by lhlu Securi
                                                                        ty Jnn11ment; and (c) any excee.s
    to the poraon or persona legally entitled to It
           If the Property Is sold puruu11nt to this Section 22, Borrow
                                                                             er or any person holding
    posaesslon of the Property through Borrowet shall Immed
                                                                       iately surrender poaaesalon of the
    Property to the purchaser at that aale. If poeeeselon
                                                                 fa not surrendered. Borrower or auch
    person ahall be a tenant at sufferance and may be remove
                                                                         d by writ of possession or oth&r
    court proceeding.
           23. Release. Upon paymvnt of all sums secured by this
                                                                          Securtty Instrument, Lender
    st,all provide a release of this Security Instrument .to
                                                                    Borrower or Borrower's designated
    agent In aocorclance with Appllc:able Law. Borrower shall
                                                                       pay any recordatlon costs. LBnder
    may oharge BoJTOwer a fee for releasing this Securi
                                                              ty Instrument, but only If the fee Is paid
    to a third party for servlcas rendered and the chargi
                                                                     ng of the fae Is permitted under
    Applicable Law.                                 •
           24. Substitute Trustae; Trustee Uablllty. All rlghte, reml';ld
                                                                            les and duties ofTrostee
    under this S&curtty Instrument may be exerolsed or
                                                                  performed by one or more trustees
    aot!ng alone er together. Le_nder, at lta option and with
                                                                    or without oause, may from time to
   time, by l)OW8r of attorney or otherwise, remove or substit
                                                                       ute any trustee, add one or more
   truste&S, or appoint a sucoeaaor trustee_ to any Tru:;te
                                                                       e without the necrnsslty of any
   formality other than a designation by Lende r In
                                                                writing. Without any further act or
   conveya noe of the Property the substlMe, additional
                                                                    or .suooeasor trustee shall become
   vested with the tltle, rights, remedies, powers and dutle.s
                                                                     conferred upon Trustee herein and
    by Appllcable Law.



     8TX18   Rav 1Mtl/1l0                                    lnl11a l.;~            FORM 3044   1/01




                                                                                                 APP. 16
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            Trustee shall not be liable If aotlng upon any notice,
                                                                       request, consent, domand,
      statement or other dooument bellevad by Trustee to
                                                                  be oorrect. Tru6tee shall not be Hable
_ -~for. any .aoLor_omlsslon unles5..such.aot .or.omission
                                                               ls.w.Illful, ~ -----·- -· ~-~ - ·--~- -~-- -- _ .
            26. Subrogation. Any of the prooeeds of the Note used
                                                                           to take up outatandlng !lens
      against afl or any part of the Property have been advanc
                                                                      ed by Lender at Borrowers request
     and upon Borrow ers representation that suoh amoun
                                                                   ts are due and are i;eoured by vaHd
     liens against the Property, Le~der sha.11 be subrogated
                                                                     to any and all rights, superior titles,
     lfi;ms e.nd equities owned or olalrned by any owner
                                                                or holder of any outstanding Hens and
     debts, regardless of whether said liens or debts are
                                                                  acquired by Lender by assignment or
     are released by the holder thereof upon payment.
            2B. Partial Invalidity. In the event any portion of the sums
                                                                             Intended to be seoured by
     thls Seourlty Instrument oannot be lawfully seourod
                                                                hereby, paymenta In reduction of such
     sums shall ba applied first to those portions not secure
                                                                   d hereby.
            27, Purchall8 Money; Owelty of PartlUon; Renewal and
                                                                         Extension of Liana AgalmJt
     Home11taad Property; Acknowledgment of Cash Advan
                                                                 ced Against Noo-Homestead Property,
    Check: box as applh;able:
      IXJ Purch an Money.
              The funds advanoed to Borrower under the Note were
                                                                        used to pay all or part otthe
       purchase price of the Property. The Note also Is
                                                             prlmarlly secured by the vendor's lien
       retal!led In the deed of even date with this Security
                                                                Instrument conveying the Property to
       Borrowar, which vendor's lien has been assigned to
                                                               Lender, this Securlty lnst(ument being
       additional security for such vendor's llen.
      D Owelty of Partition.
             The Note represents funds advanced by Lender at the
                                                                       specie.I Instance and request of
      Borrower tor the purpose of acqulrlng the entire fee
                                                                 simple title to the Property and the
       existence of an owelty of partition Imposed against
                                                              the entirety of the Property by a court
      order or by a written agreement of the parties to the
                                                               partition to secure the payment of the
      Note Is expressly acknowledged, oonfessed and grante
                                                                d.
      D Renewal and Extension of Liane ·Agalnet HomHtead Prap13rty. .
             The Note Is in renewal and extension, but not In extlngu
                                                                         lshmant, ofthe lndebtednass
      described on the ettached Renewal and Extens
                                                            ion Exhibit wnlah Is Incorporated by
      reference. Lender Is expreesly svbrngated to all rights,
                                                                     liens and remedies securing tho
      orlgfnal holder of a note evidenolng Borrower's lndebte
                                                                dnees and the ortglnal llens securing
      the fndebtedness are renewed and extended to the
                                                             date of maturity of the Note In renewal
      and extension of the lndebtednsss.
      D Acknowludgment of Cash Advl!nced Againat Non-Homeataad Property,
             The Note represents funds advanced to Borrower on
                                                                    this day at Borrower's request
      and Borrow er acknowledges reoelpt of such funds.
                                                           Borrower states that Borrower does not
      now and does not Intend ever to reside on, use
                                                             In any manner, or claim the ProJ)l:lr1y
      secured by this Security Instrument as a business
                                                                or resfdentlat homestead. Borrower
      disclaims all homestead rights, Interests and exemptions
                                                                   related to the Property,


     enm    Rev 11113/0o                                      lnlUl hM                FORM3044     r/01




                                                                                                    APP. 17
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        28. Loan Not II H□ms Equity Loan. Tho LQltn evidenced by the Nota la not an a>rtenslon of
    credit as daflnad by Section SO(a)(B) or Sactlon 60(a}{7}, Article XVI, of tho Texas
 __ Constftutl_,;m. It tho PropJ!ctY_Js usad 11B Borrower's realdanca, thian Borrower agrees lhat
                                                                                                    __
    Borrower wlll receive no cash from tl7e Loan evidenced by tho Note and that any advancee
    nol neceaaary to purohese the Property, extinguish an owelty lien, complete construction, or
    renew and extend a prior lien against the Property, will be uaed to reduce Iha balance
    evidenced by the Note or such Loan wlll be modified to evidence the comiot Loan balance,
    at Lendor'& option. Borrower agrees to execute any documentation necessary to compty
    with this Sactlon 28.



        BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants
    contained In this Security Instrument and In any Rider axeouted by Borrower and recorded
    with ft.
    Witnesses:




   STXl8   flev 12127/00                                 1n111a1.:M              FORM !044   1101




                                                                                               APP_ 18
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                STATE OF TEXAS
                County of HARRIS


____ ____ ___               Before me            (B_ {Rjj _(/~ ~--- -o_ n this day personally appeared_ __
                 CHARLES RAY MOSELY, AN UNMARRIED PERSON




                known to me (rove d to me on the oath of
                or through       ,                0,L (.                                  )
                                                             to be. 1he person whose name Is subaoribed to
                the foregoing strument and aoknowledged to me that he/she/
                                                                                they executed the same for
                the purposes and consideration therein expressed,

                            Given under my hand and s~al af oflloe
                (Seel)

                                               B; NEUDOAFEA
                                              Nctary l'DhGo, Gia!& pl ieJU
                                        M y ~ Elq,inlll IJ7-\>l«JOQ
                        •




                BTX1&       Rav   1Oll!8/00                                  Pao,, 18 of 1s        lnlUa l~       FORM ;m44   1/01




                                                                                                                              APP. 19
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                                    EXIITBIT Tl Ati

  The Weet 33 feet of Lot· 'J:\olenty- aeven (27) and the adjoinin g
                                                                      East 22 feet of
  Lot Twenty- eight (28), in Block Twenty- four (24) of RE!B:DWOODS,
                                                                     an addition ip
  liarris County, Texas accordin g to the map or plat thereof recorded
                                                                             in
  Volume 42, Page 71 of the Map Records of Harris County, Texas.




                                                                             APP. 20
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    r                          HARF.l$ COUNTY
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                               BEVERLY KAUFMAN
                               COUNTY CLERK
                               F~s 92,00
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                                at the time the :Ln.strument 1o1a• !ilvd ,md reoo'cdad.




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                               l!nbllc Reaorcls of Real. Prap,ort:y o:f' Harr • County, ~ ,




                                                                                                            APP. 21
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                                                                                                                     ~183

                                                  FIXED RATE NOTE


         OCT06Ell;· 2008                        HOUSTON                                                   TEXAS
                                                                  Clly                                               Slale


                                                           (Proper1j A ~ }


         1.--B0RROWER1 S·PAOMISE-TO-.PM'--- --- - - - - - ------- -·- - -- - - - - - - - - - - -•--- ---- _______ _
         In return for a loan that I have received, I promise to pay U S $  a4,4F. oo   (this a.mount Is
         called 'Pnnctpal"), plua_mtereat, 1o the order of the Lender The Lend r I$ _ _ _ _ _ _ _ __

         I will make all paymen1s under t Is Note in the orm of cash, check or money order            •
         I understand that the Lender may transfer this Note The Lender or anl,one who takes this Nole
         by transfer and who rs entrtJed lo rocrme paymenti; 1Jnder thl& Notll Ia balled the "Note Holder•

         2    INTEREST                                                                                1
         Interest will be charged on unpaid pnncIp111 un1I1 the full amo1int of Pn cIpal has been flBld                      I
         will pay lnteresl at a yearly ri1le, of 6 B7!i %
         The Interei;I rate required by this Seollon z ts the rate I will pay bolh b rore and Riter Rny default
         do,onbod 1n Soot1on ~BJ oflhi, Not,                                                          I
I
         3.    PAYMENTS
I             (A) Time and Place of Paymenls
                                                                                II




I'            I will pay pnnolpal and Interes1 by m11kIn9 a payment every month 1

I             I will maka my monthly paymonT on the first day of each month be~lnnlng on DECEMBER 1, 2008
              I will make theae payments every month unUI I have p11Id all of lhe pnnc1pal and lnlerest and
II            any other charges de&cnbed below that I m11y owe under this Not8i1 Each monthly payment WIii be
              apphed IHI of Its Gch_eduled due dale and will be applIi,d to Jnti,rest befori, Pr1noIpal
                                                                                   1
              If, o~ NOVEMBER 1, 2036         , I still owe amounts under this Note , I will pa.y those amounts m full
              on that date, wh1oh IS called the 'Maturity Date•
              I will make my monthly payments at ~W_E_L_LS_FA_R_G_O_B_A~   1 N_K_,___N_A~----~------
              p O BOX 11701, NEWARK, NJ 07101-4701                         I
              or 1:11 a different plaoi::, If r'8quIred by the Nola Holder '
              (B) Amount of Monthly Payments
              My monthly payment will be in the amOlll\t of U S $                        225 99

         4 BORROWER'S RIGHl TO PREPAY
         I have the nght to make payments of Pr1noIpa! al any time before !hey an, due A payment of
         Pnnc1pel only 1s known as a "Prepayment' When I make a, Prepayme t, I will tell the Note Holder In
         writing that I am do,ng so I m11y not designate a paymr,nl as e Prapa lmenl 1f I have not made all
         the monthly payments due under the Note
         I may rn11ke a full Prepayment or par1ial Pri,peymi:rnts w11hou1 p11yIng ~ Prepayment ch11rge The
         Note Holder WIii uae all of my Prepayments to reduc11 the amount of Prn01pal that I owe under this
         Note However, the Note Holder mfly apply my Prepayment to the 11coijued and unpaid Inter11:il on
         the Prepayment amount, before applying my Prepaymi,nl to reduce the Pr1ncIpal amount of the
         Note If I make e pertIal Prepayment, there will be no change& In !he ~ua date or In !he amount of
         my monthty payment unless the Note Holder agrees m writing to thoal changes

                                          HOU a1111i. FMl\liy l'Hi,Wfl1l,/,i0 \IHIFOHM IHB"rnUl.100               FOAIIUlalm
                                                                     I ol l                                              EC011L H~ t'><Mml




                                                                                                                                 APP. 22
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                                                     •                                                             ,   I




                                                                                                                       I
                                                                                                                                                   llllln sa
                         6,    LOAN CI-IARGES
                         lfa law, which applies to this loan and wh1oh sel:i maximum loan                           !
                                                                                             cha1es , 1s finally tnterprvled iso that
                         the interest or other loan otiarges collected or to be oolleoled m
                                                                                            oonnephDn with th18 loan elCMed the
                         permitted limlls, then (a) any such loan charge shall be reduced
                                                                                             by the amount necessary lo reduoe
                         the charge to the permitted hml!, arid (b) any sums 11lready collected
                                                                                                 frpm me which exoe&ded
                         permitted ltmrts will be refunded to me The Note Holder mlly choose
                         the Principal I owe under this Nole or by makrng a d1reot paymen
                                                                                                                   '?
                                                                                                     make this refund by reducrng
                                                                                            l to me If a refund reduces Pnno1pal,
                         the reduction will ba trealed as a partial Prepayment                     1
_____ - . ______ ______ _s __ BJ)RROWER~S_FA\LURLTO_P_AY_AS_R
                                                                         EQUIRED          --- +-- ---- ---- ~~- ----
                                (A) Late Charge for Overdt10 Payments
                                 tfthe Note Holder has not recerv.ed the full amount of .11ny monthl~
                               calendar days after the date It Js due I wlll pay a late charge to     payrTWn1 by the end of 15
                               amount of the charge will be 6 000o/0 of my overdue payment oftije Note Holder The
                               pay this late charge promptly but only once on each late paymen]pn nolplll and interest I Wtll

                              (B) Default
                               If I do nol pay tho full amount of eaoh monthly payment on the da e II
                                                                                                      1s due, I wlll be In default
                              (C) Notice of Default
                              If I am tn default, the Note Holder may ~end me a wnttf}n notice t~llmg
                                                                                                                   I
                                                                                                       me that rf I do not pay the
                              overdue amount by a certain date, tho Note Holder may req111re n,e
                                                                                                    to pay Immediately the full
                              amount of Pnnctpal which has not been paid and all lhe Interest
                                                                                                that I owe on lhat amount Thal
                               date mull! be at !east ~O days after lltt, date on. which the notice 1s
                                                                                                                       maIlod to me or delivered
                                                                                                                                   by
                              other means                                                         j
                              (D) No Waiver By Note Holder                                        1
                              Even If, at a time when I am 1n default, the Note Holder does noti'
                                                                                                    quire me to pay 1mmedtately tn
                              full ae deiicnbed above, the Noto Holder WIii still have lhe nght t
                                                                                                   do so If I am tn def11ull 11t a                        later
                              time
                              . (E) Payment of Note Holder's Costs and Expenses
                                 If the Note Holder hu required me lo pay Immediately tn full as
                                                                                                    1escr1bed above, Iha Nole
                                 Holder will have tho nght to be paid back by me for all of rts cost~



                        7
                                 reMonable attorney's fees

                              GIVING OF NOTICES
                                                                                                                   j
                                                                                                      and expenses In enfuro1ng
                                 thus Noto to the extent not prohibited by applicable law Those expen6e
                                                                                                           s Include, for example,


                        Un leas appl!oable law requm:1s a different method, any notice that
                                                                                              mu t be given to me under Hus
                        Note will be given by dellvenng JI or by malltng It by fir.st olass mail
                                                                                                 l~me al the Property
                        Addres,s above or al a different address 1f I give tho Note Holder
                                                                                             a not1oe of my different adoreee
                        Any notlc& th al m11sl be Q'IVen to the Nole Holder under this Note
                                                                                             will !Jo given by dehvenng ii or by
                        ma1hng It by first class mail to tho Note Holder at Iha address &lated
                                                                                                  1tScx:1lo n 3(A) 11!,ove or Bl a
                        different address rf I am given a notice of that different address
                        8. OBLIGATIONS OF PEflSONS UNDER THIS NOTE
                        If mol"'I than one person GIIJn5 this Note, vs.ch perSQn 1s fully arid pers
                                                                                                      nally obligated to keep all of
                        the promises made In !hi& Note, InoludIng the promise to pay the
                                                                                                full ~mount owed Any person who 11;
                        a guarantor, 6urety or endorser of this Note 1s also obll9a1ed to do
                                                                                                  there thin gs Any person who
                        lakes over thetie obllga!lons, 1nc-lud1n1i the obll(ilallone of a guaranto
                                                                                                   r, urety or endorser of this
                        Note, le also obhgated 1o keep all of the promi,rns made In thIa Nole
                                                                                                        e Note Holder may enforce
                        rta nghts under this Noto agatn61 each parson lncl1v1doolly or against
                                                                                                      I of us together This
                        mean6 that any one of us may ba required lo pay all of the amounts
                                                                                                    o ed vndor !his Noh,
                        9     WAIVERS
                         I and any other per,on who has obl1gat1ont1 under this Note waive
                         end Notice of Dishonor "Presentment• mean~ the nght to require the n9hts of Preseontmenl
                         payment of amounts due "Notice of Dishonor" means                   th Note Holder to demand
                         give not1oe lo olhftr persons that amounts due have notthe n11hl to re ire the Note Holder to
                                                                                  been patd
                       .LIUlTl!JTl,T
                                 (RXEn U                 NOT< llltol• Fttn!IJ FNIMIM.1,U; Ulf[RJRM IN!ITRUlfillT
                                                                                                                                 l'Oll-'U""" 1.-1
                                                                                   I oll                                                     £Col IL ll!V P<m/OZ




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       10, UNIFORM SECURED NOTE                                                                                       llliltim
       Th111 Nole rs a uniform inatrunwnt wrth t1m1toct var1at1ons 1n GOme Jun:.d1otrone
                                                                                         In add1t1on lo the
       proteoUons given to the Note Holder under this Note, a Mortgage, DeedJo1 Tnis1
                                                                                          or Seourrty Oiled (the
       'Seo11nty Instrument"}, dated the same date as this Noto, protecta the Npte Holder
                                                                                             from poaa1bfu lo~es
       whloh m19ht rvault If I do 11OI keep tha promise& which I m11k11 in lhrs N9ie Thal
                                                                                           Securtty lnslrvmerit
       descnbes how and under what oondlhoM I may be requ!rfld to make 1mmed1ate
                                                                                           payment rn full of all
       amounts that I owe under Ihle Note Some of those condJtl□ n3 are desrbed as
                                                                                          follow:.
   --~--- ------------~---------------i-~--
                                                                                         - - - ~ - - - - - - - - - - - - · - ---·
        lfell □r any part of the Prorerty or any Interest rn Iha Property 1s1sold or transferred
        If aom:iwer Is not II natura per! □n and a benefloral mteresl rn Borrower 1s sold            (or
                                                                                              or
        \~nsferr.ed) wrthoul Lender'i. prior            wi~"
                                                      oon&ent,. L.11nder n,ay
        full of ell sums seoureo: by thtll Seo11r1 loslnJmem However, !his    require tml)led1ala _paymant In
        exercised by Lender If such exen::tae Q prohibited by Appltoablo ~aw    optrcn .snall noi be

        If LQrder exorcises this opt1ou, Leoder shs.ll 11ive Borrower notice of ecoehmt1o
        shal _p11JV1de a period of not &&a than 30 days from the date the 11QII~ rs given n The no11ee
        wrth Section 16 Within which orrower must pay all sums i;eoured                        tn riccordance
                                                                                by thrs Securtty Instrument
        If Borrower fe.1hs to Pav thbeai, sums Pm,r 10 tho exp1ra/lon 9f th1i;fonod Lend.er
        any remedies permitted y tots securny 1n.strument w thout furth r notice     1         mav. invoke
        Borrower                                                                        or demunr;J on

      THIS WRITTEN LOAN AGREEMENT REPRESENTS lHE FINAL AGREEM Jrr BE1WEEN
                                                                           PARTIES
      AND MAY NOT BE CONTRADICTED BY EVIDENCE OF PRIOR, CONTEMPORANEOU
      Sl,JBSEQUENT ORAL AGREEMENTS OF THE PARTIES                       S, OR
      THEHE ARE NO UNWRITTEN ORAL AGREEMENTS BElWEEtl THE PART ES




       WITNESS THE HAND(S) AND SEAL(S) OF THE UNDERSIGNED




      (Sign Ong1nal Only)




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                                                                  ""                                                EC011L REV fllWH




                                                                                                                          APP. 24




                              NOTICE OF TAX LIEN
                                                                                   5/28/20246:04:00PM
       Case 4:24-cv-02236            Document 1-5 Filed on 06/12/24 in TXSD MarilynBurgess-DistrictClerk
                                                                               Page 31 of 54
                                    PLAINTIFF'S EXHIBITS LIST               HarrisCounty
                                                                                   EnvelopeNo:88188554
                                                                                   By:CUERO,NELSON
                                                                                   Filed:5/28/20246:04:00PM
NOTICE OF ACCELERATION And FORECLOSURE ........A

DEED OF TRUST ............ ............ ............ ............ ............ B
Case 4:24-cv-02236   Document 1-5   Filed on 06/12/24 in TXSD   Page 32 of 54




                     ATTACHMENT C
  Case 4:24-cv-02236         Document 1-5        Filed on 06/12/24 in TXSD          Page 33 of 54




Charles Mosely
3005 Nita
Houston, Texas 77051

October 22, 2021

                                                          CMR:70200640000060931486
SELENE FINANCE
9990 Richmond, Suite 400 South
Houston, Texas 77042-4546

Account Number# 2004963935

R.E.S.P.A. QUALIFIED WRITTEN REQUEST

Dear Sir or Madam:

Please treat this letter as a "qualified written request" under the Federal Servicer Act, which is a
part of the Real Estate Settlement Procedures Act, 12 U.S.C. 2605(e).

Specifically, I am disputing the amount that you claim is owed according to the Monthly Billing
Statement and request that you send me information about the fees, costs, and escrow accounting
on our loan. a) the identity of a true secured lender/creditor, and b) the existence of debt, and c)
your authority and capacity to collect on behalf of the alleged lender/creditor. Because of
extensive criminal activity and fraud in this arena, I require proof of the chain of secured
ownership from the original alleged lender/creditor to the alleged current
lender/creditor. Further, I require proof that you are the entity that has been contracted to work
on behalf of the alleged lender/creditor.

Pursuant to "Subtitle E Mortgage Servicing" of the Dodd-Frank Wall Street Reform and
Consumer Protection Act and pursuant to 12 U.S.C. Section 2605(e)(l)(A) and Reg. X Section
3500.21(e)(l), please provide:

    I. A full, double-sided, certified "true and accurate" copy of the original promissory note
       and security instrument and all assignments of the security instrument.

   2. Full name, address and, telephone number of the actual entity that funded the transaction.

   3. Full name of Trust where the Note Number is trading or has traded, and the identifying
      Series of Certificates.
      (Note: If the note number is being traded in a Fannie Mae Trust or Freddie Mac Trust,
      please provide all information to identify the Trust (i.e. Fannie Mae Pool Number, CUSIP
      Number, REMIC or SMBS Trust Number and Trust Class/Tranche).
   4. Full name, address, and telephone number of the Trustee.
Case 4:24-cv-02236       Document 1-5        Filed on 06/12/24 in TXSD         Page 34 of 54




5. Full name, address, and telephone number of the Custodian of my original Promissory
   Note, including the name, address and, telephone number of any trustee or other
   fiduciary. This request is being made pursuant to Section 1641(±)(2) of the Truth In
   Lending Act.
6. Full name, address, and telephone number of the Custodian of my original Security
   Instrument, including the name, address and, telephone number of any trustee or other
   fiduciary. This request is being made pursuant to Section 1641 (f)(2) of the Truth In
   Lending Act.
7. A physical location (address) of the original promissory note, original security
   instrument, and all assignments of the security instrument, and a contact name and
   phone number of someone who can arrange for inspection of said documents.

8. If it is alleged that the original promissory note was lost, how was it lost?

9. When was the original promissory note last seen?

 10. Full name, address, and telephone number of the last person who saw the original
     promissory note.

11. In whose possession was the original promissory note when it was allegedly lost?

12. Full name, address and, telephone number of any person who has direct personal
    information on the location of the original promissory note and the timing and method of
    loss.

13. Full name, address and, telephone number of any master servicers, servicers, sub-
    servicers, contingency servicers, back-up servicers or, special servicers for this account.

 14. All data, information, notations, text, figures and, information contained in your
     mortgage servicing and accounting computer systems including, but not limited to
     Alltel's CPI system, any system by Alltell or any other similar mortgage servicing
     software used by you, any Servicers, or sub-servicer of my mortgage account from the
     inception of my loan to the date written above.

15. All descriptions and legends of all Codes used in your mortgage servicing and accounting
    system so that the examiners, auditors and, experts retained to audit and review my
    mortgage account may properly conduct their work.

16. All purchase and sale of mortgage agreements, sale or transfer of servicing rights o,r
    other similar agreement related to any assignment, purchase or, sale of my mortgage loan
    or servicing rights by you, any broker, affiliate company, parent company, servicers,
    bank, government-sponsored enterprise, sub-servicers, mortgage broker, mortgage banker
    or any holder of any right related to my mortgage, promissory note and, deed of trust
    from the inception of my loan to the present date.
Case 4:24-cv-02236       Document 1-5        Filed on 06/12/24 in TXSD         Page 35 of 54




17. All prospectus' related to the sale or transfer ofmy note, deed of trust, mortgage and
    servicing rights or other similar agreement related to any assignment, purchase or, sale of
    my mortgage loan or servicing rights by you, any broker, affiliate company, parent
    company, servicers, bank, government-sponsored enterprise, sub-servicers, mortgage
    broker, mortgage banker or any holder of any right related to my mortgage, promissory
   note and deed of trust from the inception of my loan to the present date.

18. All assignments, transfers, allonges, or other documents evidencing a transfer, sale or
    assignment of my mortgage, deed of trust, promissory note or other documents that
    secures payment by me to my obligation in this account from the inception of my loan to
    the present date.

19. Has each sale, transfer or assignment of my mortgage or promissory note or any other
    instrument I executed to secure my debt been recorded in the county property records in
    the county and state in which my property is located from the inception of my loan to the
    present date? Yes or No?

20. All deeds in lieu, modifications to my mortgage, promissory note or deed of trust from
    the inception of my loan to the present date.

21. The electronic MERS number assigned to this account if this is a MERS Designated
    Account.22. Proof of true sale of the note from alleged Lender to investors, by showing:
    Wire transfer document(s), and/or
    Signed purchase and sale agreement(s),
    Bank statements or similar documentation.

23. The MERS Milestone Report, if the note number and security instrument was tracked by
    Mortgage Electronic Registration Systems. I want to see the audit trail of the alleged
    transfer in ownership and alleged transfer in security interest.

24. A complete audit history from alleged loan origination, showing the dates payments were
    applied, and to what internal accounts (i.e. principal, interest, suspense, escrow, etc.)
    payments were applied.25. A complete and itemized statement of all advances or charges
    against this account.

26. A complete and itemized statement of the escrow for this account, if any, from the date of
    the note origination to the date of your response to this letter.

27. All letters, statements and documents sent to me by your company.

28. All letters, statements and documents sent to me by agents, attorneys or representatives of
    your company.

29. All letters, statements and documents sent to me by previous servicers, sub-servicers or
    others in your loan file or in your control or possession or in the control or possession of
Case 4:24-cv-02236       Document 1-5        Filed on 06/12/24 in TXSD         Page 36 of 54



   any affiliate, parent company, agent, sub-servicer, servicer, attorney or other
   representative of your company.

30. All electronic transfers, assignments, sales of my note, mortgage, deed of trust or other
    security instrument.

31. Have you purchased and charged to the account any Force-Placed Insurance?

32. A complete and itemized statement from the date of the note origination to the date of
your response to this letter of the amounts charged for any forced-placed insurance, the date
of the charge, the name of the insurance company, the relation of the insurance company to
you or a related company, the amount of commission you received for each force-placed
insurance event, and an itemized statement of any other expenses related thereto.

33. A complete and itemized statement from the date of the note origination to the date of
    your response to this letter of any suspense account entries and/or any corporate advance
    entries related in any way to this account.

34. A complete and itemized statement from the date of the loan to the date of your response
    to this letter of any property inspection fees, property preservation fees, broker opinion
    fees, appraisal fees, bankruptcy monitoring fees, or other similar fees or expenses related
    in any way to this loan.

35. A statement/provision under the security instrument and/or note that authorizes charging
    any such fee against the account.

36. Copies of all property inspection reports and appraisals, broker price opinions, and
    associated bills, invoices, and checks or wire transfers in payment thereof.

37. All agreements, contracts and understandings with vendors that have been paid for any
    charge on my account from the inception of my loan to the present date.

38. Complete copy of any transaction report(s) indicating any charges for any "add on
    products" sold to the debtors in connection with this account from the date of the note
    origination to the date of your response to this letter.

39. Complete and itemized statement of any late charges added to this account from the date
    of the note origination to the date of your response to this letter.

40. Complete and itemized statement of any fees incurred to modify, extend, or amend the
    loan or to defer any payment or payments due under the terms of the loan, from the date
    of the note origination to the date of your response to this letter.

41. In a spreadsheet form or in letter form in a columnar format, please detail for me each
    and every credit on my account and the date such credit was posted to my account as well
    as the date any credit was received.
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42. In a spreadsheet form or in letter form in a columnar format, please detail for me each
    and every debit on my account and the date such credit was posted to my account as well
    as the date any debit was received.

43. For each debit or credit listed, provide the definition for each corresponding transaction
   code you utilize.

44. For each transaction code, provide the master transaction code list used by you or
    previous servicers.

45. Complete, itemized statement of the current amount needed to pay-off the alleged "loan"
    in full.
46. Verification of any notification provided to me of a change in servicer.

47. Have attorney fees or legal fees ever been assessed to my account from the inception of
    my loan to the present date?

48. If attorney fees or legal fees have been assessed to my account, detail each separate
    assessment from the inception of my loan to the present date to include the date of such
    assessment to my account.

49. Have attorney fees or legal fees ever been collected from my account from the inception
    of my loan to the present date?

50. Detail each separate collection of attorney fees from my account from the inception of
    my loan to the present date and provide the date of such collection from my account.

51. Provide the name and address of each attorney or law firm that has been paid any fees or
    expenses related to my account from the inception of my loan to the present date.

52. Detail and list each separate attorney fee assessed to my account and for which
    corresponding payment period or month such late fee was assessed from the inception of
    my loan to present date.

53. Detail and list any adjustments in attorney fees or legal fees assessed and on what date
    such adjustment was made and the reasons for such adjustment.

54. Has interest been charged on any attorney fee or legal fee assessed or charged to my
    account?

55. Is interest allowed to be assessed or charged on attorney fees or legal fees charged or
    assessed to my account?

56. How much in total attorney fees or legal fees have been assessed to my account from the
    inception of my loan until present date?
Case 4:24-cv-02236       Document 1-5        Filed on 06/12/24 in TXSD        Page 38 of 54




57. How much in total attorney fees have been collected on my account from the inception of
    my loan until present date?

58. Identify in writing the provision, paragraph, section or sentence of any note, mortgage,
    deed of trust or any agreement I signed authorized the assessment or collection of
   attorney fees.

59. Have you reported the collection of late fees or late charges on my account as interest in
    any statement to me or to the IRS?

60. Has any previous servicer or sub-servicer of my mortgage reported the collection of late
    fees or late charges on my account as interest in any statement to me or to the IRS?

61. Do you consider the payment of late fees or late charges as liquidated damages to you for
    not receiving my payment on time?

62. Are late fees considered interest?

63. Detail in writing what expenses and damages you incurred or undertook for any late
    payment,

64. Were any of these expenses or damages related to any payment I made that was late
    charged or assessed to my account in any other way?

65. If yes, describe what expenses or charges were charged or assessed to my account.

66. Identify in writing the provision, paragraph, section or sentence of any note, mortgage,
    deed of trust or any agreement I signed that authorized the assessment or collection of
    late fees.

67. Detail and list each separate late fee assessed to my account and for which corresponding
    payment period or month such late fee was assessed from the inception of my loan to
    present date.

68. Detail and list any adjustments in late fees collected and on what date such adjustment
    was made and the reasons for such adjustment.

69. Has interest been charged on any late fee assessed or charged to my account?

70. Is interest allowed to be assessed or charged on late fees charged or assessed to my
    account?

71. How much in total late charges have been assessed to my account from the inception of
    my loan until present date?
  Case 4:24-cv-02236        Document 1-5       Filed on 06/12/24 in TXSD         Page 39 of 54




   72. Provide the exact months or payment dates you and other previous servicers of my
       account claim I have been late with a payment from the inception of my loan to the
       present date.

   73. How much in total late charges have been collected on my account from the inception of
       my loan until present date?

   74. Identify the provision, paragraph, section or sentence of any note, mortgage, deed of trust
       or any agreement I signed that authorized the assessment or collection of property
       inspection fees.
   75. Have you labeled in any record or document a property inspection as a misc. advance?

   76. Have you labeled in any record or document a property inspection as a legal fee or
       attorney fee?

   77. Has interest been charged on any inspection fees assessed or charged to my account?

   78. If yes, when and how much was charged?

   79. Is interest allowed to be assessed or charged on inspection fees charged or assessed to my
       account?

   80. How much in total inspection fees have been assessed to my account from the inception
       of my loan until present date?

   81. Identify where the originals of my entire loan file are currently located and how they are
       being stored, kept and protected?

   82. Has my mortgage loan been made a part of any mortgage pool since the inception ofmy
       loan?



You should be advised that within FIVE {5) DAYS you must send us a letter stating that
you received this letter. After that time you have THIRTY (30) DAYS to fully respond as
per the time frame mandated by Congress, in "Subtitle 'E' Mortgage Servicing" of the
"Dodd-Frank Wall Street Reform and Consumer Protection Act and pursuant to 12 U.S.C.
Section 2605{e)(l)(A) and Reg. X Section 3500.2l{e){l).

TRUTH-IN-LENDING ACT§ 131 (/)(2)

Pursuant to 15 US. C. § 1641 (I):

Please provide the name, address and telephone number of the owner(s) of the mortgage and the
master servicer of the mortgage.
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              Case
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                     ATTACHMENT D
     Case 4:24-cv-02236      Document 1-5        Filed on 06/12/24 in TXSD        Page 42 of 54




April 13, 2023



Selene Finance LP
ATTN; Customer Service Research
P. 0. Box 8279
Philadelphia, PA.19101-8279
                                       Qualified Written Request


                                                               CMR: # 70200640000060931561
In the Matter of:

Charles Mosely
3005 Nita Street
Houston, Texas 77051
Account number: 2004963935


 Dear Sir or Madam:

Please treat this letter as a "qualified written request" under Section 6(e) of the Real Estate
Settlement Procedures Act, 12 U.S.C. 2605(e). This request is made on behalf of the above-
named debtor, based on the pending dispute about the proper application of payments from the
debtors to interest, principal, escrow advances, and expenses (in that order of priority as provided
for in the loan instruments); about your use of suspense accounts in connection with your receipt
of the debtors' payments; about your use of legacy late charges with respect to mortgage
payments; about your use of automatically triggered property inspections and broker price
opinion charges and fees; and about legal fees and expenses that have been attached to this
account in the form of corporate advances. Specifically, I am requesting the following
information:
1.       A complete and original life of loan transaction history to the date of your response to
this letter prepared by the Servicer from its own records using its own system and default
servicing personnel. Also, please identify the mortgage servicing software you use in connection
with this loan (MSP, LSAMS, etc).

2.       A copy of your Key Loan Transaction history, bankruptcy work form, XLS spreadsheet,
or any other manually-prepared spreadsheet or record of all accounts associated with this
mortgage loan (this would include both recoverable and non-recoverable and restricted and non-
restricted accounts).

3.      A full and complete plain-English definitional dictionary of all transaction codes and
other similar terms used in the records requested above or any of the other documents or records
requested or referred to herein.

4.      If this is a MERS or MOM loan, please attach a copy of all MERS Milestone Reports.
---------------------------------------                                                         --   -



          Case 4:24-cv-02236      Document 1-5        Filed on 06/12/24 in TXSD         Page 43 of 54




     5.       If this is a MERS or MOM loan, please attach a copy of all MIN Reports.

     6.      Please identify the full name, address and telephone number of the current holder of
     the original mortgage note including the name, address and phone number of any Trustee
     under the Trust or other fiduciary. This request is being made pursuant to Section 164 l(t)(2) of
     the Truth In Lending Act, which require the servicer to identify the holder of the debt. This
     request is also being made pursuant to the amendments to RESP A under the Dodd-Frank Act.

     7.     Copies of all collection notes, collection record, communication files or any other form of
     recorded data with respect to any communications between you and the debtor.

     8.     An itemized statement of the full amount needed to reinstate the mortgage as of the date
     of your response along with an itemized pay-off statement.

     9.      Copies of all written or recorded communications between you and any non-lawyer third
     parties regarding this mortgage (including but not limited to LPS Desktop communiques, New
     Trak communications, New Invoice transmittals, New Image transmittals, electronic
     communications by email or otherwise, collection note, and any other form of written or
     electronic document related to the servicing of or ownership of this loan).
     10.    All P-309 screen shots of the history all of the accounts (principal, interest, escrow, late
     charges, legal fees, property inspection fees, broker price opinion fees, statutory expense fees,
     miscellaneous fees, corporate advance fees, etc.) associated with this loan.
     11.    Please produce a full Life of Loan transaction history generated from the AS400 system,
     including Loan History Inquiry, Fees Due Inquiry, Monthly Statement Request and History,
     Impound/Escrow Account Review, Servicing activities History (Combined View), Bankruptcy
     Department Screens if applicable, Bankruptcy Account Follow-Up if applicable, I st mortgage
     Account Status, Field Service Inspection Selection, Fees Due Listing, all Comment Logs from
     BK, FC, Customer Service Departments, and all fees and costs and escrow accounting details.

     12.    Please produce copies of all invoices from the servicer for all third-party vendors
     including proof of payment.

     You Should be advised that you must acknowledge receipt of this qualified written request
     within five (5) business days, pursuant to 12 U.S.C. Section 2605(e) (I) (A) as amended
     effective July 16, 2010, by the Dodd-Frank Finance Reform Act and Reg. X Section
     3500.2l(e) (1).

     You should also be advised that the debtor herein will seek the recovery of damages, costs, and
     reasonable legal fees for each failure to comply with the question and requests herein. The debtor
     also reserve the right to seek statutory damages for each violation of any part of Section 2605 of
     Title 12 of the United States Codes in the amount of$2,000.00 for each violation.

     *Also note that as a mortgage servicers you required to fully answer all these questions within
     10 days from the date you receive this letter, this is my second request.
     Sincerely,
                  . .                                  VI
                     Case 4:24-cv-02236                                                           Document 1-5   Filed on 06/12/24 in TXSD   Page 44 of 54
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                     ATTAC HMENT E
     Case 4:24-cv-02236       Document 1-5       Filed on 06/12/24 in TXSD         Page 46 of 54




September 29, 2022



Selene Finance
9900 Richmond Avenue
Suite 400 South
Houston, Texas 77042
                                       Qualified Written Request


                                                               CMR: # 70210350000097500210
In the Matter of:
Charles Mosely
3005 Nita Street
Houston, Texas 77051
Account number: 2004963935


Dear Sir or Madam:

Please treat this letter as a "qualified written request" under Section 6(e) of the Real Estate
Settlement Procedures Act, 12 U.S.C. 2605(e). This request is made on behalf of the above-
named debtor, based on the pending dispute about the proper application of payments from the
debtors to interest, principal, escrow advances, and expenses (in that order of priority as provided
for in the loan instruments); about your use of suspense accounts in connection with your receipt
of the debtors' payments; about your use of legacy late charges with respect to mortgage
payments; about your use of automatically triggered property inspections and broker price
opinion charges and fees; and about legal fees and expenses that have been attached to this
account in the form of corporate advances. Specifically, I am requesting the following
information:
1.       A complete and original life of loan transaction history to the date of your response to
this letter prepared by the Servicer from its own records using its own system and default
servicing personnel. Also, please identify the mortgage servicing software you use in connection
with this loan (MSP, LSAMS, etc).

2.       A copy of your Key Loan Transaction history, bankruptcy work form, XLS spreadsheet,
or any other manually-prepared spreadsheet or record of all accounts associated with this
mortgage loan (this would include both recoverable and non-recoverable and restricted and non-
restricted accounts).

3.      A full and complete plain-English definitional dictionary of all transaction codes and
other similar terms used in the records requested above or any of the other documents or records
requested or referred to herein.

4.      If this is a MERS or MOM loan, please attach a copy of all MERS Milestone Reports.
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5. Full name, address, and telephone number of the Cus
                                                      todian of my original Pro miu ory
   Note, including the name, address and. telephone
                                                        number of any trustee or other
   fiduciary. This request is being made pursuant to Sect
                                                           ion 164l(f)(2) of the Truth In
   Lending Act
6. Full name, address, and telephone number of
                                                  the Custodian ofmy original Security
   hutW Uille u,, 1nc1 uatng we name, aaar
                                           ess ana, telephone number o:r any truSt ee or other
   fiduciary. Thii reuueit is beinil mid e purwimt to Sect
                                                           ion 1641(f)(1) of the Tmt k It,_
   Lend ing Act.
7. A physical location (address) of the original
                                                 promissory note, original security
   instrument, and all assignments of the security
                                                   instrument, and a contact name and
   phone number of someone who can arrange for
                                                     inspection of said documents.
8. If it is alleged that the original promissory note was
                                                             lost, how was it lost?
9. When was the original promissory note last seen
                                                  ?
10. Full name, address, and telephone number of the
                                                    last person who saw the original
    promissory note.
11. In whose possession was the original prom
                                                   issory note when it WWI allegedly lost?
12. Full name, address and. telephone number of
                                                   any person who has direct personal
    information on the location of the original promissor
                                                          y note and the timing and method of
    loss.

13. Full name, address and, telephone number of
                                                       any master servicers, servicers, sub-
    serv icers , cont inge ncy servicers, back -up serv icers
                                                              or, special setvicers for this acco   unt.
14. All data, information, notations, text, figures and,
                                                         information contained in your
    mortgage servicing and accounting computer syste
                                                          ms including, but not limited to
    Alltel's CPI system, any system by Alltell or any othe
                                                             r similar mortgage servicing
    software used by you, any Servicers, or sub-servicer
                                                            of my mortgage account from the
    ince ption of my loan to the  date writ ten abov e.
15. All descriptions and legends of all Codes used
                                                   in your mortgage servicing and accounting
    system so that the examiners, auditors and, experts
                                                        retained to audit and review my
    mortgage account may properly conduct their work
                                                        .
16. All purchase and sale of mortgage agreements,
                                                      sale or transfer of servicing rights o,r
    other similar agreement related to any assignment.
                                                          purchase or, sale ofm y mortgage loan
    or servicing rights by you, any broker, affiliate com
                                                          pany
    bank, government-sponsored enterprise, sub-servicers , parent company, servicers,
    or any holder of 1111y right related to my mortgage, , mortgage broker, mortgage banker
                                                         promissory note and, deed of trust
    from the inception of my loan to the present date.
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       (Forever) Ttli 11"                                  $0.60

     Grand Total:                                          $8.69
   Credit Card Remit                                       $8.69
       Card Name: MasterCard
      Account#: XXXXXXXXXXXX5592
      Approval #: 34C5B9
      Transaction#: 775
      AID: A0000000042203        Chip
      AL: US Debit
      PIN: Not Required

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                or Gall l B00-410-7420.
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                     ATTACHM ENT F
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                                                         NOTICE
From:
Charles Mosely
3005 Nita Street
Houston, Texas 77051
Hereinafter collectively referred to as "Claimant"

To:
Selene Finance LP
P. 0. Bo>< 8619
Philadelphia, PA 19101-8619
Hereinafter collectively referred to as RESPONDENT, you, your company

RE: Alleged account # 2004963935                                                    Certified Mail# 70200640000060931585

02/15/24

                                                NOTICE OF DISPUTE;
                                     DEMAND FOR VALIDATION AND PROOF OF CLAIM

To Whom it May Concern

This letter is being sent to you in response to a computer generated, unsigned letter dated August 24, 2009 (DF793), letter
received by Claimant from your offices. Be advised that your claim is disputed and validation and proof of claim of the disputed
debt is requested in accordance with the Fair Debt Collection Practices Act, 15 USC § 1692 and as amended by adding
the following new Title 8 USC § 802 et seq., and the Fair Credit Billing Act, 15 USC. § 1666 et seq. All of which work in
conjunction with each other, including the Truth In Lending Act (TILA) 15 USC 1601 et seq. It is not now. nor has it ever
been, my intention to avoid paying any obligation that is lawfully owed by the Claimant. In order to make arrangements to pay
an obligation which may be lawfully owed, please document and verify the "debt" by complying, in good faith, with this request
for validation and return it to me, within thirty (30) days of receipt of this letter.

This is NOT a request for "verification" or proof of Claimant mailing address, but a request for VALIDATION and PROOF OF
CLAIM made pursuant to the above named Titles and Sections. I respectfully request that your offices provide Claimant with
competent evidence as per the attached "Declaration and Proof of Claim" that I have any legal obligation to pay you the
unsubstantiated alleged debt. Furthermore you shall cease all verbal communication. No phone calls to the Claimant.

At this time I will also inform you that if your offices have reported invalidated information to any of the 3 major Credit Bureaus,
such as, Equifax, Experian and TransUnion prior to validation and proof of claim of the disputed debt, this action might
constitute fraud under both Federal and State Laws. Due to this fact; if any negative mark is found on any of Claimant credit
reports by your company or the company that you represent I will not hesitate in bringing legal action against you and your
client for the following:

- Violation of the Fair Credit Reporting Act
- Violation of the Fair Debt Collection Practices Act
- Defamation of Character
-Violation of United States Code TITLE 18 PART 1 CHAPTER 63 § 1341 (Mail Fraud)

This debt is considered to be invalid until I receive proper validation and your offices provide Claimant with proof of claim of the
disputed debt. Your offices have 30 days to produce the required documentation in accordance with FTC guidelines. During
this validation period and proof of claim, if any action is taken which could be considered detrimental to any of Claimant credit
reports, said action will be considered a "dishonor" and cause the self-executing contract portion of this notice to be
implemented. This includes any listing any information to a credit reporting repository that could be inaccurate or invalidated.

If your offices fail to respond to this validation and proof of claim request within 30 days from the date of your receipt, all
references to this account must be deleted and completely removed from Claimant credit file and a copy of such deletion
request shall be sent to Claimant immediately.


Title a use § 809. Validation of debts [15 use 1692g]

(b) If the consumer notifies the debt collector in writing within the thirty-day period described in subsection (a) that the debt, or
any portion thereof, is disputed, or that the consumer requests the name and address of the original creditor, the debt
collector shall cease collection of the debt, or any disputed portion thereof, until the debt collector obtains verification of
the debt or any copy of a judgment, or the name and address of the original creditor, and a copy of such verification or
judgment, or name and address of the original creditor, is mailed to the consumer by the debt collector.

Debt Validation Proof of Claim -<Your N. Here, Sr.>                                                                               I of 3
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BLACK'S LAW DICTIONARY:

VERIFICATION. Confirmation of correctness, truth, or authenticity, by affidavit, oath, or deposition.




                                         Counter Claim with Self-executing Contract

If Respondent, such as by commission, omission, and otherwise;

         (a)   Fails to provide VALIDATION and PROOF OF CLAIM within thirty (30) days;
         (b)   Makes a false representation of the character of the herein above-referenced alleged debt;
         (c)   Makes a false representation of the legal status of the herein above-referenced alleged debt;
         (d)   Makes any threat of action that cannot legally be taken, in violation of any applicable law, such as, the law
               codified at the Fair Debt Collection Practices Act,

will be construed to be Respondent's tacit acceptance of the terms and condition stated herein. In which case RESPONDEN
                                                                                                                        T
agrees to:

         (e)   Voluntarily report this account to all credit bureaus as "paid as agreed;" and,
         (f)   Voluntarily waive all claims against Claimant, their Agent or Heirs with prejudice; and,
         (g)   The matter regarding the alleged debt is finally and totally settled; and,
         (h)   Voluntarily admits the Claimant is the depositor for this account, that Respondent risked none of their assets at
               any time regarding this account and that they failed to disclose these material facts to Claimant; and,
         (i)   Voluntarily report the date of last activity on this account is the date of this notice.


RESPONDENT also agrees to:

         1. Voluntarily authorize Claimant to record a UCC-1 on RESPONDENT as debtor to secure the debt owed Claimant;
         and,
         2. Voluntarily prove their claim as a RESPONDENT in possession of Claimant property in a involuntary bankruptcy
         proceeding process; and,
         3. Voluntarily compensate Claimant for ALL costs and attorneys/consultant fees; and,
         4. Resolve ALL claims by Claimant, against Respondent, et al, exclusively and finally through binding arbitration, if
         necessary, to enforce the above terms, conditions, fees, penalties and damages. Arbitration replaces the right to go
         to court except to confirm an arbitration award. The arbitration organization that is selected will apply its code or
         procedure in effect at the time the arbitration is filed, subject to this agreement. The arbitration will be conducted
         before a single arbitrator. The arbitrator's authority is limited solely to the Claims between Claimant and Respondent
         alone. The arbitration will not be consolidated with any other arbitration proceeding. If Claimant prevails in the
         arbitration of any Claim against Respondent, Respondent will reimburse Claimant for any fees Claimant paid to the
         arbitration organization in connection with the arbitration. Any decision rendered in such arbitration proceedings will
         be final and binding on the parties, and judgment may be entered in a court of competent jurisdiction. This arbitration
         provision applies to all Claims now in existence or that may arise in the future. The arbitration provision shall survive
         any voluntary payment of Claimant's claim against Respondent, in full, or any bankruptcy by Respondent.

This is a private communication and is intended to affect an out-of-court settlement of this matter. Conduct yourself
accordingly. Should any provision on this agreement be found to not be enforceable by order of a court of competent
jurisdiction, it shall not adversely affect any other provision of this agreement and reasonable opportunity and effort
                                                                                                                        shall be
taken to modify it to become enforceable.

                            "Equality under the Law is PARAMOUNT and MANDATORY by Law"

                                  NOTICE TO THE PRINCIPAL IS NOTICE TO THE AGENT
                                  NOTICE TO THE AGENT IS NOTICE TO THE PRINCIPAL
                                               Applicable to all successors and assigns
                                            Silence is Acquiescence/Agreement/Dishonor

         Executed on this 15th day of February, 2024 by, _ _ _ _ _ _ _ _ _ _ _ _ __
                                                         Charles Mosely



                          CREDITOR/DEBT COLLECTOR DECLARATION and PROOF OF CLAIM


Debt Validation Proof of Claim -<Your N. Here, Sr.>
                                                                                                                             2 of 3
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  Please provide all of the following lnfonnatlon and submit the approprfa18 fonns and paperwork back to me
                                                                                                               along
  with an Affidavit signed In Accordance with 28 U.S.C. § 1746 within 30 days from the da18 of your receipt ofthla
  request for validation and proof of claim.

          1.   Alleged Name and Address of Creditor

          2.   Name on File of Alleged Debtor:

          3.   Alleged Account #:

          4.   Amount of alleged debt:

          5.   Date that this alleged debt became/becomes payable:

          6.   Date of original charge off or delinquency:

          7.   Amount paid if debt was purchased:

          8.   Please attach a copy of any signed agreement alleged debtor/claimant has made with debt collector, or other
               verifiable proof that debtor/claimant has a contractual obligation to pay debt collector.

          9.   Furnish a copy of the original promlasory no18/agreement redacting my social security number to prevent
               identity theft and state that your client named above is the holder in due course of the note agreement and will
               produce the original for my own and a judge's Inspection should there be a trial to contest these matters.
          10. Produce the account and general ledger statement showing the full accounting of the alleged obligation that
              you are now attempting to collect. Such as; FR 2046 balance sheet (0MB #'s 2046, 2049, 2099), 1099 O1D
               report, S-3/A registration statement, 424-BS prospectus, RC-S & RC-B call schedules
          11. Identify by name and address all persons, corporations, associations, or any other parties having an interest in
               legal proceedings regarding the alleged debt.

          12. Verified specifically, name(s) of person(s) assigned as Trustee to handle Corporations affairs and to be held
               accountable for the actions of the Corporation. Such as CFO and subordinates responsible for debt collections.

          13. Verify as a third party debt collector, you have not purchased evidence of the alleged debt and are proceeding
               with collection activity in the name of the original maker of the note.

          14. Verify you know and understand that certain clauses in a contract of adhesion, such as a so-called forum
               selection clause, are unenforceable unless the party to whom the contract is extended could have rejected the
               clause without impunity.

          15. Provide verification from the stated creditor that you are authorized to act for them.

          16. Verify that you know and understand that contacting me again after receipt of this notice without providing
              procedurally proper validation of the debt constitutes the use of interstate communications in a scheme of fraud
              by advancing a writing. which you know is false with the intention that others rely on the written communication to
              their detriment a violation of United States Code TITLE 18 PART 1 CHAPTER 63 § 1341.
      Disputing the Debt,

Dated this 15th day of February 2024.


By:
                   Mosely (expressly all rights reserved)




Debt Validation Proof of Claim -<Your N. Here, Sr.>
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                   6093 1585Document 1-5                Filed on 06/12/24 in TXSD   Page 53 of 54
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Total                                      $8.73

Grand Total:                               $8.73
Debit Card Remit                          $58. 73
    Card Name: MasterCard
    AccOLint #: XXXXXXXXXXXX9930
    Approval #: 2CE942
    Transaction#: 508
    Receipt#: 034648
    Debit Card Purchase: $58.73
    AID: A0000000042203          Chip
                                                    I
    AL: US Debit
    PIN: Verified                                   I
Cash Back                           -$50. 00
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 Text your tracking number· to 28777 <2USPS)
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 to get the latest statlls. Standdrd Message
   and Data rates may apply. You may also
  visit WWW. usps. c.om USPS Tracking or· call
               1-800-222-1811 .
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   All sales final on stamps and postage.
   Refunds for guaranteed services only.
        Thank you for your business.
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UFN: 480382-0058
Receipt#: 840-57700055-1-5450240-2
Clerk: 02
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                       CHARLES MOSELY,                         §            IN THE DISTRICT COURT
                                Plaintiff,                     §
                                                               §
                                                vs.            §        OF HARRIS COUNTY , TEXAS
                                                               §
       RCF 2 ACQUISITION TRUST                                 §
       U.S.BANK TRUST NATTIONAL,                               §                   JUDICIAL DISTRICT
       ASSOCIATION AND SELENE                                  §
       FINANCE LP.                                             §
                         Defendant,                            §



                                                           ORDER

    IT IS, THEREFORE, ORDERED that defendants RCF 2 Acquisition Trust, U.S Bank Trust Nation
Association, Selene Finance LP, and CODILIS & MOODY, P.C., and their agents, servants, and employees
in this cause, be, and hereby are, commanded forthwith to desist and refrain from directly or indirectly
foreclosing or filing for foreclosure on the property of plaintiffs from the date of entry of this order until and
to the day after entry or until further order of this court.
    IT IS FURTHER ORDERED that plaintiffs Charles Mosely request for temporary injunction be heard
before me or the Honorable judge of the court named above, on, at m, in the courtroom of the court of Harris,
Texas. The clerk of the court is hereby directed to issue a show cause notice to defendants Selene Finance
LP and CODILIS & moody, P.C. to appear at the temporary injunction hearing.
    The clerk of the above court shall forthwith, on the filing by plaintiffs Charles Mosely of the bond
required by this order, and on approving the same according to the law, issue a temporary restraining order
in conformity with the law and the terms of this order.
This order shall not be effective unless and until plaintiffs Charles Mosely execute and file with the clerk
                                                                                                     a
    bond, in conformity with the law, in the amount of$_ _ _ _. Notwithstanding anything in this order,
    defendants shall be allowed to post the property on the June 4, 2024 foreclosure sale.


    Dated: _ _ _ _ _ __



    PRESIDING JUDGE


   Entered on: _ _ _ __
